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                      EXHIBIT 9
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  EXHIBIT 9                                                                120
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  EXHIBIT 9                                                                121
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                    EXHIBIT 10
Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 5 of 108 Page ID #:906
  _____________________________________________________________________



     
     
  INTERWORKS UNLIMITED, INC., a     )
  California Corporation,           )
                                    )
                        Plaintiff,  )
                                    )
            vs.                     ) Case                       No. 2:17-cv-4983 AB KSx
                                    )
                                    )
  DIGITAL GADGETS, LLC; a New       )
  Jersey limited liability company, )
                                    )
                        Defendants. )
  _______________________________ )
                                    )
  AND ALL RELATED ACTIONS.          )
  _______________________________ )

  
                                          CHARLES TEBELE


                      August 21, 2018

                  Cindy Afanador

                  488 Madison Avenue
                           Suite 1120
                           New York, New York 10022


                                     
                                             
                          
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  _________________________________________________________________________________________________________
  EXHIBIT 10                                                                                          122
    Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 6 of 108 Page ID #:907
Interworks Unlimited, Inc. vs. Digital Gadgets, LLC             Deposition of Charles Tebele

  1     UNITED STATES DISTRICT COURT
  2     CENTRAL DISTRICT OF CALIFORNIA
  3     --------------------------------------x
  4     INTERWORKS UNLIMITED, INC., a
  5     California Corporation,
  6                               Plaintiff,
  7                        -against-
  8     DIGITAL GADGETS, LLC; a New Jersey
  9     limited liability company,
 10                               Defendant.
 11     Case No:         2:17-cv-4983 AB KSx
 12     --------------------------------------x
 13                                        488 Madison Avenue
 14                                        New York, New York
 15

 16                                        August 21, 2018
 17                                        10:01 a.m.
 18

 19                Examination Before Trial of the
 20     Defendant by CHARLES TEBELE, pursuant to
 21     Notice, before CINDY A. AFANADOR, a Notary
 22     Public of the State of New York.
 23

 24

 25


      EXHIBIT 10          H I N E S      R E P O R T E R S                        123 1 (1)
    Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 7 of 108 Page ID #:908
Interworks Unlimited, Inc. vs. Digital Gadgets, LLC                            Deposition of Charles Tebele
  1    A P P E A R A N C E S:                        1 conducted in this conference room, although
  2 LAW OFFICES OF ROGER C. HSU                      2 relatively informal, but the oath you just
  3 Attorneys for Plaintiff                          3 took carries the same legal effect and force
  4    175 South Lake Avenue, Suite 210              4 as if you were testifying in a court of law;
  5    Pasadena, California 91101                    5 do you understand that?
  6 BY: ROGER C. HSU, ESQ.                           6     A. Yes.
  7                                                  7     Q. Okay.
  8 LAZARUS & LAZARUS, P.C.                          8          At any time during your
  9 Attorneys for Defendant                          9 deposition, if you don't understand my
 10    240 Madison Avenue, 8th Floor                10 question, please stop me and ask me to
 11    New York, New York 10016                     11 rephrase it or repeat it until you fully
 12 BY: HARLAN LAZARUS, ESQ.                        12 understand my question.
 13                                                 13          During your deposition today,
 14 BRUTZKUS GUBNER                                 14 please ask me for breaks, or if your counsel
 15 Attorneys for Defendant                         15 wants to have a break, I will do everything to
 16    21650 Oxnard Street, Suite 500               16 accommodate you, but there is only one thing
 17    Woodland Hills, California 91367             17 that I would ask you to accommodate me. When
 18 NOT PRESENT                                     18 there is a question pending, I would ask you
 19                                                 19 to provide answer to me before you take your
 20                                                 20 break; would that be acceptable to you?
 21                                                 21     A. Yes.
 22                                                 22     Q. Okay.
 23                                                 23          From time to time today, your
 24                                                 24 lawyer may object to my question, but if your
 25                                                 25 lawyer does not instruct you not to answer my
                                              Page 2                                                  Page 4
 1                                                      1   question, in other words, if you don't hear
 2            THE COURT REPORTER: Please state          2   that instruction from your lawyer, you will
 3       your full name for the record.                 3   still have to answer my question.
 4            THE WITNESS: Charles Tebele.              4            Of course, if your lawyer does
 5            THE COURT REPORTER: What is your          5   instruct you not to answer, that would be a
 6       address?                                       6   different story, and then I would ask you at
 7            THE WITNESS: 570 Lexington                7   the time whether you will comply with that
 8       Avenue, New York, New York 10022.              8   instruction, and then we'll move on from
 9   C H A R L E S T E B E L E, called as a             9   there.
10       witness, having been duly sworn by a          10            The court reporter can only take
11       Notary Public, was examined and               11   down one person's statement at a time, so
12       testified as follows:                         12   please do not talk over each other, one
13   EXAMINATION BY                                    13   another, until I finish my question, or when
14   MR. HSU:                                          14   applicable, your lawyer finishes his objection
15       Q. Good morning.                              15   before you start answering my question.
16       A. Morning.                                   16            Do you understand the difference
17       Q. Mr. Tebele, have you ever been             17   between a guess versus an estimate?
18   deposed before?                                   18        A. Yes.
19       A. Yes.                                       19        Q. Okay.
20       Q. Okay.                                      20            After this deposition, you will
21            While you were sitting here              21   have an opportunity to review your deposition
22   yesterday, you might have heard some basic        22   transcript and make changes, if necessary.
23   ground rules of deposition. I'm just gonna        23            Nonetheless, I have to caution
24   quickly go over them so you understand.           24   you now, if you do make any substantive change
25            Today's deposition is being              25   such as changing from no to yes or yes to no,
                                              Page 3                                                  Page 5

        EXHIBIT 10            H I N E S         R E P O R T E R S                                   2 (2 - 5)
                                                                                                  124
    Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 8 of 108 Page ID #:909
Interworks Unlimited, Inc. vs. Digital Gadgets, LLC             Deposition of Charles Tebele
 1   myself or my associate could make comments on         1       A. Yes.
 2   your changes at trial and it would affect your        2       Q. What is that?
 3   credibility as a witness.                             3       A. What is the form?
 4            MR. LAZARUS: I think you are                 4       Q. Correct.
 5       going over the line in instructing the            5       A. The form is the nature of the
 6       witness, and now you are counseling the           6   articles of how an organization is formed.
 7       witness on matters that I should be               7       Q. Was it a corporation?
 8       counseling him on, not you.                       8       A. No.
 9            If a change needs to be made, the            9       Q. Was it an LLC?
10       change is going to be made, and the              10       A. Yes.
11       effect is for the judge to instruct the          11       Q. What is your current position at
12       jury, not for you to instruct                    12   Digital Gadgets?
13       Mr. Tebele.                                      13       A. President and CEO.
14            Thank you.                                  14       Q. Do you own this company?
15            MR. HSU: I would take it that's             15       A. Yes.
16       your objection, Mr. Lazarus?                     16       Q. How long have you worked for your
17            MR. LAZARUS: Lazarus.                       17   company, Digital Gadgets?
18            MR. HSU: Lazarus.                           18       A. About ten years.
19            THE WITNESS: He did that                    19       Q. Is it accurate to say that
20       yesterday too, to the other two.                 20   Digital Gadgets was established or formed
21       Q. Well, any objection from your                 21   about ten years ago?
22   attorney, Mr. Lazarus, he's doing this to            22       A. I'm not sure exactly when it was
23   preserve the record, so when there is a need         23   formed, but it might be a little bit more than
24   in the future, then he and I will get into           24   ten years ago.
25   some kind of dispute in front of the judge,          25       Q. And you don't recall what year?
                                                 Page 6                                                    Page 8
 1   that's why he's doing this.                           1      A.      I don't recall what year.
 2            Did you take any medication in               2      Q.      Okay.
 3   the last 24 hours that would prevent you from         3             Other than officer and owner of
 4   giving your testimony today?                          4   Digital Gadgets, are you a director?
 5       A. No.                                            5             Strike that.
 6       Q. Okay.                                          6             Are you the sole managing member
 7            Other than Charlie Tebele, have              7   of Digital Gadgets?
 8   you ever used any other name in the past?             8       A. I am the managing member.
 9       A. Charles.                                       9       Q. Are you familiar with a company
10       Q. Any other names?                              10   called Techpoint, LLC, one word,
11       A. No.                                           11   T-E-C-H-P-O-I-N-T?
12       Q. What's your current occupation?               12       A. Yes.
13       A. Entrepreneur.                                 13       Q. And do you know any business
14       Q. Excuse me, I didn't catch that.               14   affiliation between Techpoint, LLC and Digital
15       A. Entrepreneur.                                 15   Gadgets?
16       Q. Entrepreneur.                                 16       A. Yes.
17            Do you have an employer?                    17       Q. And what is that business
18       A. Yes.                                          18   affiliation?
19       Q. Who is that person?                           19       A. Techpoint, LLC sources certain
20       A. It's not a person.                            20   products for Digital Gadgets and serves as an
21       Q. When you say "it's not a person,"             21   agency for sourcing products.
22   what is the employer? Who's the employer?            22       Q. When you say "sourcing products,"
23       A. Digital Gadgets; it's an entity.              23   can you explain to me what "sourcing" means?
24       Q. Do you know the form of this                  24       A. Means finding sources that have
25   business entity?                                     25   products that may be applicable for sale by
                                                 Page 7                                                    Page 9

        EXHIBIT 10               H I N E S           R E P O R T E R S                                  3 (6 - 9)
                                                                                                      125
    Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 9 of 108 Page ID #:910
Interworks Unlimited, Inc. vs. Digital Gadgets, LLC             Deposition of Charles Tebele
 1   Digital Gadgets.                                    1       A. I can estimate.
 2       Q. Is it fair to say sourcing is                2       Q. Can you give me an estimate of
 3   like finding vendors of the products?               3   when he was employed by Techpoint, LLC?
 4       A. It's fair to say.                            4       A. Roughly 2016 and 2017.
 5       Q. Do you know an individual named              5       Q. Do you know when he left
 6   Chris Mitchell?                                     6   Techpoint, LLC?
 7       A. Yes.                                         7       A. Towards the end of 2017.
 8       Q. Is he still working for Digital              8       Q. Did you have any personal
 9   Gadgets?                                            9   dealings with Techpoint, LLC?
10       A. No.                                         10       A. As the president of Digital
11       Q. Do you know who he currently                11   Gadgets.
12   works for?                                         12       Q. And how -- can you explain to
13       A. No.                                         13   me --
14       Q. Is he currently working for                 14       A. Techpoint, LLC was responsible
15   Techpoint, LLC?                                    15   for sourcing products for Digital Gadgets,
16       A. No.                                         16   then I would have dealings with, in my
17       Q. By the way, Techpoint, LLC --               17   capacity of president of Digital Gadgets, have
18       A. If I would not know who he's                18   dealings with Techpoint, LLC.
19   working for, how would I know if he is working     19       Q. Did you personally form
20   for Techpoint, LLC?                                20   Techpoint, LLC?
21       Q. Well, that's a very good                    21       A. No.
22   question.                                          22       Q. Did you own any ownership
23            By the way, Chris Mitchell was            23   interest in Techpoint, LLC?
24   employed by Digital Gadgets, correct?              24       A. Yes, in the past.
25       A. I'm not sure. I don't believe               25       Q. And would that be 100 percent
                                              Page 10                                                  Page 12
 1   so.                                                 1   owned by you?
 2        Q. Was Chris Mitchell ever employed            2       A. No.
 3   by any company that had dealings with Digital       3       Q. Majority owner of Techpoint, LLC?
 4   Gadgets in the past?                                4       A. I don't know.
 5        A. You just asked me if Techpoint,             5       Q. And is it fair to say that you
 6   LLC has an affiliation with Digital Gadgets,        6   had control on Techpoint, LLC at all times in
 7   and you asked me if Chris Mitchell works for        7   the past?
 8   Techpoint, LLC.                                     8       A. No.
 9        Q. Right.                                      9       Q. Who's the current president of
10        A. Now you are asking me if I know            10   Techpoint, LLC?
11   if Chris Mitchell had been employed by any         11       A. There is no current president.
12   company that had any dealings with Digital         12       Q. And who is the managing member of
13   Gadgets?                                           13   Techpoint, LLC?
14        Q. Right.                                     14       A. Today?
15        A. So I don't understand where the            15       Q. Correct.
16   difference would be.                               16       A. I'm not sure.
17        Q. Well, the difference -- let me             17       Q. Do you know back in 2016, let me
18   try to ask another question, maybe it's the        18   give you a time frame, early 2017, who was the
19   question that I asked was incorrect.               19   managing member at Techpoint, LLC?
20            Was Digital Gadgets, sorry not            20       A. No.
21   Digital, was Chris Mitchell once employed by       21       Q. When Chris Mitchell was employed
22   Techpoint, LLC?                                    22   by Techpoint, LLC, did you hire him?
23        A. Yes.                                       23       A. I'm not sure who hired him. I
24        Q. Do you know when he was employed           24   might have been involved in the interviews.
25   by Techpoint, LLC?                                 25       Q. Do you know who else was involved
                                              Page 11                                                  Page 13

           EXHIBIT 10          H I N E S        R E P O R T E R S                                  4126
                                                                                                     (10 - 13)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 10 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:911         Deposition of Charles Tebele
 1   in the interviews?                                   1   hoverboards from --
 2        A. No.                                          2        A. Are you stating that as a fact or
 3        Q. Have you heard of Interworks                 3   are you asking me -- what's the question?
 4   Unlimited, Inc.?                                     4        Q. Do you remember at the time you
 5        A. I've heard of the term                       5   first met Eric Lu your company had already
 6   Interworks, I don't know about the comma Inc.        6   made purchases from his company?
 7        Q. Okay.                                        7        A. Do I remember if my company
 8            When did you first hear of this             8   already made purchases?
 9   company?                                             9        Q. Yes.
10        A. I don't recall.                             10        A. Again, just like I said before,
11        Q. Have you ever met an individual             11   I'm not clear on the timeline, but we
12   named Eric Lu?                                      12   purchased purchases from him and I met him.
13        A. Yes.                                        13   I'm not recalling the sequence of events.
14        Q. Do you recall when you met him?             14        Q. So you don't remember when your
15        A. I believe it would be in                    15   company first purchased products from his
16   January 2017.                                       16   company?
17        Q. Did you meet him in New York?               17        A. In relation to when I met him,
18        A. I don't believe so.                         18   I'm not sure.
19        Q. Do you recall where you met him             19        Q. Okay.
20   first?                                              20            Do you know what was the
21        A. I recall that I met him in                  21   merchandise your company purchased from his
22   Las Vegas. I don't know if there were other         22   company?
23   meetings, but that's one that I recall.             23        A. Hoverboards.
24        Q. Were you in Vegas for a trade               24        Q. Before you came today, did you
25   show?                                               25   review any documents, intra-company, relating
                                               Page 14                                                Page 16
 1        A. Yes.                                         1   to the purchase of these hoverboards?
 2        Q. And what trade show was that?                2       A. I reviewed certain documents.
 3        A. The CES trade show.                          3       Q. And what were these documents
 4        Q. CES would stand for?                         4   that you had reviewed?
 5        A. Consumer Electronics. I don't                5       A. There were a production of
 6   know what the "S" is for. Show.                      6   documents, they were voluminous, I reviewed
 7        Q. That's a good guess.                         7   them to refresh my memory, but I don't know
 8            When you first met Eric Lu in               8   which documents -- I can't recall which
 9   Las Vegas for this trade show, what did you          9   documents or why. There were a lot of
10   guys talk about?                                    10   documents.
11        A. (No response.)                              11       Q. Did you review your company's
12        Q. Do you remember anything that you           12   purchase orders?
13   discussed with Eric Lu when you first met him?      13       A. Not particularly. I may have
14        A. No.                                         14   scanned them. I'm sure I scanned them.
15        Q. Did he ever offer any of his                15       Q. Did you review the invoices
16   merchandise to your company as a vendor?            16   issued by Interworks to your company?
17        A. I believe when I met him we were            17       A. What do you mean by "review"?
18   already involved in some sort of business, but      18       Q. Review, meaning look at the
19   I don't know the sequence. I don't recall           19   document and have -- for a certain purpose,
20   offhand the sequence of events.                     20   and when you finished reading it, well, I
21        Q. Was Chris Mitchell there to?                21   can't give you a definition of review. Review
22        A. Yes.                                        22   means review.
23        Q. At the meeting -- do you recall             23       A. Then I can't answer it.
24   at the time the meeting taking place your           24       Q. Well, have you had a chance to
25   company had already made purchase of                25   look at those documents?
                                               Page 15                                                Page 17

        EXHIBIT 10              H I N E S        R E P O R T E R S                                5127
                                                                                                    (14 - 17)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 11 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:912         Deposition of Charles Tebele
 1      A.     I looked at them.                         1   you recall what new products he was trying to
 2      Q.     Okay.                                     2   sell you?
 3           The invoices -- with respect to             3       A. At this point, I couldn't recall
 4   these invoices issued by Interworks to your         4   them, no.
 5   company, did you have a chance to look at           5       Q. Okay.
 6   those invoices?                                     6       A. It was beyond what we had or were
 7       A. When you say "these invoices," I             7   already discussing. He had a suite with lots
 8   don't know what you mean.                           8   of products in it that he was looking to sell
 9       Q. Invoices of -- pertaining to the             9   to us.
10   hoverboards sold by Interworks to your             10       Q. Other than hoverboards, did
11   company.                                           11   Interworks ever sell any products to Digital
12       A. Is there a particular invoice you           12   Gadgets?
13   are referencing?                                   13       A. I'm not sure.
14       Q. Any invoice in the past.                    14       Q. Did you discuss with Eric Lu,
15       A. I've seen invoices, yes.                    15   when you first met him, anything relating to
16       Q. Do you recall how many invoices             16   an exclusive distributorship agreement?
17   that you looked at?                                17       A. I don't recall. In that meeting,
18       A. No.                                         18   I don't recall what was discussed.
19       Q. Was it more than one?                       19       Q. Subsequent to that meeting, did
20       A. I'm not sure.                               20   you have any discussion with Eric Lu
21       Q. Do you have a good idea of how              21   pertaining to some kind of exclusive business
22   many units of the hoverboards your company         22   relationship with Interworks?
23   purchased from Interworks in the last three        23       A. Yes.
24   years?                                             24       Q. And do you recall when that
25       A. No.                                         25   conversation took place?
                                              Page 18                                                  Page 20
 1       Q. Was it more than 10,000 pieces?              1       A. No.
 2       A. I just said I don't have an                  2       Q. Do you recall what kind of
 3   idea. I don't have a good idea.                     3   exclusive deal you were talking about?
 4       Q. With passage of time you may not             4       A. Yes.
 5   have exact recollection of things, and that is      5       Q. Can you generally describe to me
 6   very natural.                                       6   the terms of such deal exclusivity?
 7            I'm not asking you to give me the          7       A. Generally, I can describe it.
 8   exact units or numbers of hoverboards that          8       Q. Okay.
 9   your company purchased from my client. All          9            Can you help me describe it?
10   I'm trying to figure out is if you have an         10       A. Interworks asked us to market his
11   estimate of how many units?                        11   boards that he got stuck with to certain
12       A. I don't have an estimate.                   12   accounts that we deal with, "we" being Digital
13       Q. When you first met Eric Lu in               13   Gadgets, and have good relationships with
14   Las Vegas, did you discuss any payment terms       14   those retailers. And in exchange for us
15   with respect to the goods that were being sold     15   marketing the boards to those retailers, being
16   to your company?                                   16   that he was also in the business, the
17       A. I don't recall.                             17   arrangement was that we, Digital Gadgets,
18       Q. What do you recall, if at all,              18   would be the exclusive seller of certain
19   any discussion that you had with Eric Lu, when     19   technology and boards to those retailers,
20   you first met him?                                 20   meaning no other seller could sell those
21       A. I remember he was taking us                 21   boards to those accounts.
22   through some new products that he was coming       22       Q. And QVC was one of those
23   out with, and we were discussing the potential     23   retailers?
24   business relationship between our companies.       24       A. Yes.
25       Q. When you say "new products," do             25       Q. When you had this discussion on
                                              Page 19                                                  Page 21

        EXHIBIT 10             H I N E S           R E P O R T E R S                               6128
                                                                                                     (18 - 21)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 12 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:913         Deposition of Charles Tebele
 1   this type of exclusivity agreement with                   1   Santa Fe Springs in California?
 2   Eric Lu, did you know at the time that                    2       A. I'm familiar with the name.
 3   Eric Lu's company had already been selling                3       Q. Was this Phoenix Warehouse
 4   products to QVC, products, specifically                   4   providing services to Digital Gadgets?
 5   hoverboards?                                              5       A. Yes.
 6       A. Yes.                                               6       Q. And for how long?
 7       Q. And you also know that QVC had                     7       A. I don't know.
 8   completed its sample testing on Eric Lu's                 8       Q. Do you know that Phoenix
 9   hoverboards and approved the quality of his               9   Warehouse went out of business?
10   hoverboards?                                             10       A. Yes.
11       A. I couldn't know if they approved                  11       Q. Do you know what year?
12   the quality on his hoverboards, quote/unquote.           12       A. No.
13       Q. He never told you about that?                     13       Q. When you first met Eric Lu, did
14       A. That's not what I said.                           14   you have any discussion on getting a
15       Q. Yeah, my question is: Did he                      15   consignment deal from him?
16   ever tell you that he has submitted sample --            16       A. I don't recall.
17   samples of hoverboards to QVC for testing and            17       Q. Did you ever discuss with him at
18   it was approved?                                         18   any time in the past that your company is
19       A. He did say that his -- one of his                 19   willing to purchase hoverboards from his
20   boards was approved.                                     20   company based on consignment terms?
21       Q. Was that board Model C                            21       A. You just asked me if I discussed
22   hoverboard?                                              22   consignment with him and I said I don't
23       A. I would need to refresh my memory                 23   recall. Now you are asking me something about
24   or see documents to answer that question.                24   consignment again. I'm not sure what you
25       Q. Did your discussion with Eric Lu                  25   mean.
                                                    Page 22                                                 Page 24
 1   on this exclusive agreement ever lead to                  1       Q. The first question was the first
 2   anything in writing?                                      2   time you met him.
 3       A. I wouldn't know.                                   3       A. Oh.
 4       Q. Did you ever sign any exclusive                    4       Q. The second question is, whenever
 5   agreement with Eric Lu's company?                         5   in the past, did you ever have any discussion
 6       A. I don't recall.                                    6   with him on that?
 7       Q. When I say "you," I meant Digital                  7       A. Possibly.
 8   Gadgets.                                                  8       Q. How many times did you personally
 9            Do you recall Digital Gadgets                    9   meet him, if you recall?
10   signed any written exclusive distributorship             10       A. I don't recall.
11   agreement?                                               11       Q. Was it more than one time?
12       A. I don't recall.                                   12       A. I don't recall. I remember one
13       Q. Do you know when -- I think you                   13   time. I don't recall if there were more.
14   previously said you don't remember when                  14       Q. I'm not sure if I got the answer
15   Digital Gadgets first purchased some                     15   from you.
16   hoverboards from Interworks?                             16            Do you recall ever discussing
17       A. I did say that.                                   17   with him on the consignment term, ever in the
18       Q. You did say that, right?                          18   past?
19       A. (Witness nodding.)                                19       A. Again, I don't recall if I
20       Q. Do you recall when was the very                   20   discussed consignment with him. I just don't
21   last time Digital Gadgets purchased any                  21   recall.
22   hoverboards from Interworks?                             22       Q. Do you recall having discussion
23       A. No.                                               23   with Eric Lu concerning Digital Gadgets'
24       Q. Are you familiar with a business                  24   application for credit with a factor?
25   entity called Phoenix Warehouse located in               25       A. Application?
                                                    Page 23                                                 Page 25

        EXHIBIT 10               H I N E S            R E P O R T E R S                                 7129
                                                                                                          (22 - 25)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 13 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:914                       Deposition of Charles Tebele
  1     Q. Yes.                                       1 of the word "application."
  2     A. No.                                        2     Q. Right.
  3     Q. To your knowledge, did Digital             3     A. It's a very broad, you know,
  4 Gadgets ever submit any application to a          4 might mean a piece of paper that's filled out,
  5 factor named Bibby?                               5 it might mean a phone call, it might mean an
  6     A. I recall there were conversations          6 e-mail, it might mean a conversation, so what
  7 with Bibby, I don't know about an application.    7 I was answering to was I don't remember if
  8     Q. You said you had some                      8 there was an application in the definition of
  9 recollection about that name; do you remember     9 application where a form might be filled out.
 10 anything about this factor, Bibby?               10     Q. When you said "application" you
 11     A. I remember that Eric was very             11 meant a form, so you don't remember whether or
 12 worried about his relationship with Bibby, and   12 not there was any written --
 13 was desperate to satisfy them in terms of the    13     A. Correct.
 14 transaction that we need to do.                  14     Q. Do you recall any verbal
 15     Q. Did Eric Lu request your company          15 application?
 16 to submit your application to Bibby for          16     A. I remember discussions.
 17 Bibby's approval on --                           17     Q. With Bibby?
 18     A. I remember on numerous occasions,         18     A. Yes.
 19 he would ask either myself or Chris Mitchell     19     Q. And who at Bibby?
 20 to get involved with Bibby to satisfy them       20     A. I don't recall.
 21 regarding the purchase, multiple occasions.      21     Q. Do you recall the gist of the
 22     Q. To sat --                                 22 conversation?
 23     A. It was an urgent request.                 23     A. Not particularly.
 24     Q. It was an urgent request; do you          24         What do you mean by "gist"?
 25 remember when that happened?                     25     Q. The gist is the important -- the
                                               Page 26                                                  Page 28
 1       A. No.                                           1   important part of that conversation.
 2       Q. And what was the purpose for                  2       A. Bibby was trying to establish a
 3   Eric Lu to request you and Chris Mitchell to         3   credit line for Digital Gadgets.
 4   start talking to Bibby?                              4       Q. With respect to the goods that
 5       A. You would have to ask him.                    5   your company purchased?
 6       Q. Was he trying to get your company             6       A. I don't know with what respect, I
 7   approved by this vendor, so the vendor, I'm          7   just know the purpose of the gist, as you
 8   sorry, approved by this factor, so this factor       8   describe it, would be for them to establish a
 9   can finance your purchase deals?                     9   line. I would presume that that line would be
10       A. You are asking me to answer what             10   allocated to Interworks to enable credit
11   his state of mind to do something would be, I       11   protected sales to Digital Gadgets.
12   don't think that would be in my ability to          12            I don't think it would include
13   swear to.                                           13   sales, but I believe if he wanted to use his
14       Q. That's fair.                                 14   credit line, that that's what the conversation
15             Did you hear from anybody in your         15   or the gist, as you call it, would be.
16   company regarding Bibby's decision on               16       Q. Do you know why that conversation
17   qualifying you, I mean your company, after the      17   had any relevance to Digital Gadgets?
18   application was turned in?                          18            MR. LAZARUS: Objection to the
19       A. I did not understand that                    19       form of the question.
20   question at all.                                    20       A. Yeah, I don't understand the
21       Q. Well, I think you previously                 21   question.
22   testified that you don't remember any               22       Q. Well, do you know why you were on
23   application that was ever submitted to              23   the phone -- were you on the phone with Bibby?
24   Bibby --                                            24       A. Possibly.
25       A. So I was answering you in terms              25       Q. Do you know why Bibby had to
                                               Page 27                                                  Page 29

        EXHIBIT 10              H I N E S         R E P O R T E R S                                 8130
                                                                                                      (26 - 29)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 14 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:915         Deposition of Charles Tebele
 1   discuss a credit line of Interworks with you         1       A. Yes.
 2   or your company?                                     2       Q. Do you have to be in charge of
 3       A. You'd have to ask Bibby or                    3   the company's finance?
 4   Interworks.                                          4       A. I'm involved in finance. As the
 5       Q. Was it because you were buying                5   president and CEO, everything rolls up, but I
 6   products from Interworks?                            6   don't do the financial day-to-day.
 7       A. It could be a reason.                         7       Q. Do you recall when Digital
 8       Q. Do you know any other reasons?                8   Gadgets started selling hoverboards to QVC?
 9       A. I don't wanna speculate as to                 9       A. No.
10   reasons.                                            10       Q. Before Digital Gadgets started
11       Q. Did you ever go to law school?               11   selling those hoverboards to QVC, was there a
12       A. No.                                          12   prior business relationship going between
13       Q. Did you ever personally involve              13   these two entities?
14   (sic) in making any purchase orders for             14       A. Which two?
15   hoverboards?                                        15       Q. Digital Gadgets and QVC.
16       A. Repeat the question.                         16       A. You need to rephrase the
17       Q. Have you ever personally involve             17   question.
18   in making any purchase order for buying             18       Q. Before you started selling these
19   hoverboards from Interworks (sic)?                  19   hoverboards --
20       A. Me personally?                               20       A. Which hoverboards?
21       Q. Yes.                                         21       Q. The hoverboards that you
22       A. No.                                          22   purchased, your company purchased from
23       Q. That wasn't your job, right?                 23   Interworks.
24       A. I didn't say that wasn't my job.             24       A. So you are asking prior to
25   I said I haven't been involved in issuing any       25   Digital Gadgets selling hoverboards --
                                               Page 30                                                  Page 32
 1   purchase orders to Interworks.                       1   Interworks hoverboards to QVC?
 2        Q. By the way, we missed that, what             2       Q. Why don't I change it to a
 3   was your job duties?                                 3   simpler question?
 4        A. You did ask that.                            4            When did you, if you recall, when
 5        Q. I did?                                       5   did your company start doing business with
 6        A. Yeah.                                        6   QVC?
 7        Q. Maybe I missed that.                         7       A. 2008 -- 2009, I'm sorry. 2009.
 8            I don't think I asked that.                 8       Q. Do you recall the very first
 9            You told me --                              9   product of merchandise your company was
10        A. I said I was the president and              10   selling to QVC back in 2009?
11   CEO.                                                11       A. No.
12        Q. That was the position I have                12            THE WITNESS: Can I pause you for
13   down, but I never asked you your job duties.        13       a second?
14            What are your job duties?                  14            Can we take a five-minute break
15        A. Honestly, I couldn't answer a               15       for a phone call prior to 11:00?
16   question like that. As president/CEO of the         16            MR. HSU: Sure.
17   company, your job duties are to ensure the          17            THE WITNESS: Now?
18   company has objectives and meets its plans.         18            MR. HSU: Let's do a ten-minute
19   That would be my definition.                        19       break now.
20        Q. Do you supervise your company's             20            THE WITNESS: Fine.
21   operations?                                         21            (Recess taken.)
22        A. Yes.                                        22   BY MR. HSU:
23        Q. Do you have to attend business              23       Q. Before Digital Gadgets placed any
24   meetings with vendors and customers from time       24   purchase order, do you have to review it and
25   to time?                                            25   approve it?
                                               Page 31                                                  Page 33

        EXHIBIT 10              H I N E S            R E P O R T E R S                              9131
                                                                                                      (30 - 33)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 15 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:916         Deposition of Charles Tebele
 1       A. Me personally?                                 1   knowledge of any returns of hoverboards made
 2       Q. Yes.                                           2   by Digital Gadgets to Interworks?
 3       A. No. Doesn't preclude me from                   3       A. Personal knowledge that I'm
 4   reviewing any.                                        4   carrying in my head, no. There may be
 5       Q. If you want to, you could?                     5   documents to support in whatever we would
 6       A. Yes.                                           6   submit.
 7           MR. HSU: Let me attach these two              7       Q. Okay.
 8       documents; why don't we mark them as              8       A. Whether there were or weren't...
 9       Exhibit 1 and 2.                                  9       Q. That's fair.
10           (Tebele Exhibit 1, Second Amended            10            Have you ever seen any documents
11       Notice of Taking Deposition of Charlie           11   in the possession of your company that had
12       Tebele, marked for identification.)              12   anything to do with the return that was
13           (Tebele Exhibit 2, Second Amended            13   referenced in number 14 here?
14       Notice of Taking Deposition of                   14       A. I don't recall any specific
15       Defendant/Counterclaimant Digital                15   documents.
16       Gadgets, LLC, marked for                         16       Q. Okay.
17       identification.)                                 17       A. That doesn't mean there aren't
18       Q. These two exhibits or notices of              18   documents, that doesn't mean I didn't see
19   deposition of you individually and notice of         19   them, but I don't know of any specific
20   taking deposition of defendant, Digital              20   documents.
21   Gadgets.                                             21       Q. You might have seen them, but you
22           The -- my understanding is that              22   don't remember at that point?
23   you have been designated as the person most          23       A. Correct.
24   knowledgeable about the issues in this case by       24            MR. LAZARUS: Give me one second
25   your company, Digital Gadgets, right?                25       with Charlie.
                                                Page 34                                                 Page 36
 1      A.      (No response.)                             1            THE WITNESS: Yeah.
 2            MR. LAZARUS: Yes.                            2            (Recess taken.)
 3            MR. HSU: Okay.                               3        A. So just to clarify, any returns,
 4        Q. Now, fairly quickly, if you look              4   there would be paperwork if it was requested,
 5   at the Exhibit 2, the second amended notice of        5   that would substantiate whether there were
 6   taking deposition of defendant, if you can            6   terms or not in the submissions.
 7   help me go to the second page.                        7        Q. My previous question to you is,
 8        A. (Witness complying.)                          8   do you recall seeing any of those documents?
 9        Q. Look at the third page.                       9        A. In the ordinary course of
10        A. (Witness complying.)                         10   business we returned product, so I don't
11        Q. And you can see these categories             11   recall specific documents, but, like I said,
12   being described on top of the pages number 10        12   if there were documents and reports showed to
13   all the way through number 21, right?                13   me, I can identify whether they were returns
14        A. Yes.                                         14   or not based on those documents.
15        Q. Did you look at those categories             15        Q. Sitting there, you don't have any
16   before you came today?                               16   specific recollections on any specific
17        A. You are asking me if I saw this              17   documents?
18   document before I came today?                        18        A. Correct. However, you know,
19        Q. Yes.                                         19   there are registers and documents and backup
20        A. I don't recall.                              20   to what was returned and wasn't returned.
21        Q. 14, if you look at that 14, says             21        Q. Let's move on to the next one.
22   in a return of merchandise to the defendant          22   This will be -- you guys can share.
23   that were previously purchased from the              23            It is a letter dated May 19,
24   plaintiff.                                           24   2017.
25            Do you have any personal                    25            MR. HSU: This will be Number 3.
                                                Page 35                                                 Page 37

        EXHIBIT 10               H I N E S            R E P O R T E R S                            10132
                                                                                                      (34 - 37)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 16 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:917         Deposition of Charles Tebele
 1             (Tebele Exhibit 3, Document                1   multiple occasions, I spoke to QVC. I mean
 2        bearing Bates stamp Interworks 7, marked        2   this was a heavy issue, this wasn't a light
 3        for identification.)                            3   issue and we would never, as our company
 4        Q. This letter apparently was                   4   policy, sell something that someone else
 5   written by Thomas Carulli, supposedly a lawyer       5   makes, to then have that company go and
 6   working for this firm. I'm looking at the            6   compete with us on the same thing.
 7   letterhead; Kaplan, Massamillo & Andrews.            7        Q. Well, that's fair.
 8   Have you ever seen this document?                    8             So Chris Mitchell reported this
 9        A. Yes.                                         9   to you; what did he tell you, if anything,
10        Q. Did you hire this law firm to               10   that you recall pertaining to this exclusive
11   write this letter to Interworks?                    11   right?
12        A. Yes.                                        12        A. Look, I had many conversations
13        Q. And let's look at the first                 13   with Chris Mitchell and with Eric, but what I
14   paragraph.                                          14   will say is Interworks was in a jam, we helped
15             Says "Dear Mr. Lu, we represent           15   them, and explicit in the help was this
16   Digital Gadgets, LLC. This is to place you on       16   exclusive, which was being honored for a time,
17   notice that Interworks has violated the             17   but then at some point, Interworks decided to
18   exclusive right granted DG," that's Digital         18   go rogue and go behind our backs, so it was
19   Gadgets, "to sell Interworks products to and        19   not just implied, it was the tone of the
20   through QVC, moreover, at a price less than         20   entire relationship. And, moreover, we were
21   offered by Digital Gadgets, resulting in            21   discussing further exclusive and further
22   significant and irreparable harm to Digital         22   accounts, so it wasn't that it was this one
23   Gadgets."                                           23   little thing, it was beyond that.
24        A. Yes, it was terrible.                       24             At some point, Interworks just
25        Q. There are two issues raised by              25   decided that they were gonna not honor it.
                                               Page 38                                                 Page 40
 1   this paragraph. One, the first one was the           1      Q.      Okay.
 2   exclusive right. You don't recall seeing any         2            To your knowledge, is --
 3   written documents or written agreements signed       3       A. Which caused us a tremendous
 4   by Interworks and Digital Gadgets pertaining         4   amount of lost work and time and reputation.
 5   to this exclusive right?                             5       Q. Do you know if Interworks is
 6        A. I don't know about a written                 6   currently selling hoverboards to QVC?
 7   agreement, however there is a certain                7       A. I don't understand the question.
 8   agreement without question between Interworks        8       Q. To your personal knowledge, is
 9   and Digital Gadgets that when Digital Gadgets        9   Interworks selling hoverboards to QVC now?
10   was selling those goods to QVC, which               10       A. At this moment, I don't know.
11   Interworks was stuck with and QVC canceled          11   Are they in business?
12   their orders with, that Digital Gadgets would       12       Q. Which party is in business?
13   fill Interworks' shoes as the exclusive             13       A. Is Interworks still in business?
14   partner, there's no doubt about that.               14       Q. That's why I'm here.
15        Q. When you say "there's no doubt              15       A. I don't understand.
16   about that," you know, what proof do you            16       Q. Well, you know, maybe your
17   recall?                                             17   attorney can ask my client that question two
18            MR. LAZARUS: Objection to the              18   weeks from now.
19        form of the question.                          19       A. Okay. I don't know if they are
20        Q. Let me ask you this: When you               20   selling it. I don't even know if they are in
21   say there's no doubt about this exclusive           21   business. I'm hearing all kinds of things in
22   right, have you ever seen any e-mails sent by       22   the trade about deceptive things that they are
23   Eric Lu?                                            23   doing, so I don't know if they are there, they
24        A. I've seen e-mails, I was on                 24   are not there, they are selling, they are not
25   conversations, I spoke to Chris Mitchell on         25   selling, I don't know.
                                               Page 39                                                 Page 41

        EXHIBIT 10              H I N E S        R E P O R T E R S                                11133
                                                                                                     (38 - 41)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 17 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:918         Deposition of Charles Tebele
 1       Q. You heard something about                     1   these hoverboards supplied by Interworks?
 2   Interworks going out of business?                    2       A. Doesn't the letter state that?
 3       A. I'm speculating. I'm wondering.               3       Q. Yes, it does say that. I mean,
 4   I'm asking you.                                      4   I'm asking you -- well, let me try to ask
 5       Q. Unfortunately, I can't give you               5   another question.
 6   that answer.                                         6            When you had this letter written
 7             But your attorney can ask my               7   to Interworks, did Interworks promptly show
 8   client a couple weeks from now, two, three           8   you sufficient insurance coverage to alleviate
 9   weeks from now.                                      9   your such concern?
10       A. Okay. I just don't wanna -- you              10       A. Are you saying -- are you asking
11   are asking me if they are selling something, I      11   me if we had insurance I would still go and
12   don't even know if they are in business, so         12   pay money to hire a lawyer and write a letter
13   I'm trying to --                                    13   that we didn't have insurance?
14       Q. All I'm trying to get --                     14       Q. No. The question is, after you
15       A. How would I know what they are               15   sent this letter, after, did you or anybody
16   doing?                                              16   else at Digital Gadgets receive satisfactory
17       Q. Did you hear from QVC that they              17   explanations from Interworks?
18   are still selling to QVC?                           18       A. I know that there was attempt to
19       A. It's not something that I                    19   resolve the insurance issue by Interworks. I
20   discussed with QVC on a daily basis.                20   don't know if it was quote/unquote
21       Q. Okay. That's a good answer.                  21   satisfactory, but I do know that there was
22             The -- if you look at the second          22   certain actions taken as a result of this
23   paragraph, a reference of insurance coverage        23   letter to mitigate what -- maybe what
24   was mentioned. Do you know why lack of              24   Interworks felt it needed to provide.
25   insurance coverage was an important issue at        25       Q. Subsequent to sending this
                                               Page 42                                                  Page 44
 1   the time when this letter was written?               1   letter, did you realize that it was actually a
 2       A. Why insurance is important?                   2   non-issue?
 3       Q. Why lack of insurance coverage                3        A. No.
 4   was an important issue?                              4        Q. Are you aware Digital Gadgets had
 5       A. It's a requirement of doing                   5   to purchase insurance subsequent to sending
 6   business, and part of the product -- when QVC        6   this letter to Interworks?
 7   approves a product for sale, there are certain       7        A. Am I aware that Digital Gadgets
 8   requirements. If insurance on that product is        8   had to purchase -- if Interworks didn't solve
 9   part of the approval, it becomes part of             9   the problem, then Digital Gadgets would have
10   the -- you can't separate the insurance from        10   had to purchase insurance. I don't know the
11   the product. If QVC approves the product that       11   dates and times, but if we had to do something
12   has this cup with this holder with this lid,        12   to mitigate damages, we would have done that
13   and you take off the lid, it's no longer the        13   based on our relationship with QVC.
14   cup.                                                14        Q. Right, QVC would have required
15            You follow what I'm saying?                15   you, meaning your company, to provide that
16       Q. Yes, I follow.                               16   coverage, if Interworks failed to provide one,
17       A. So if the board doesn't have the             17   right?
18   insurance and it was approved with the              18        A. If it was provideable (sic) by
19   insurance, then the lack of the insurance           19   us. It's not like you could just go out and
20   makes the product not what it was represented       20   like buying a pack of gum in the store, not
21   to be.                                              21   like saying, okay, you don't have it, I'll do
22       Q. Okay.                                        22   it, it's an intricate piece of equipment that
23            The -- at the time, did you, I             23   many insurance companies will not insure.
24   mean Digital Gadgets, have serious concern on       24        Q. Do you personally involve in
25   lack of insurance coverage with respect to          25   obtaining or procuring such insurance coverage
                                               Page 43                                                  Page 45

        EXHIBIT 10              H I N E S         R E P O R T E R S                                12134
                                                                                                      (42 - 45)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 18 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:919         Deposition of Charles Tebele
 1   after you realized that Interworks has failed      1            Let's look at the next one, would
 2   to provide such coverage (sic)?                    2   be Number 4.
 3       A. I don't recall exactly what                 3            (Tebele Exhibit 4, Document
 4   insurance we might have bought, but subject to     4       bearing Bates stamp Interworks 8, marked
 5   my review of documents I would be able to          5       for identification.)
 6   refresh my memory.                                 6       Q. Next one is a short e-mail
 7       Q. You don't remember exactly what             7   Bates number Interworks 8 at the bottom of the
 8   insurance coverage Digital Gadgets had to          8   page.
 9   purchase?                                          9            This e-mail was sent to Eric Lu
10       A. Correct.                                   10   by Thomas Carulli. Thomas Carulli was one of
11       Q. Because Interworks failed to               11   your lawyers retained by your company back
12   maintain one?                                     12   then in May 2017, right?
13       A. Correct, and I don't know if just          13       A. You just asked me to testify that
14   Digital Gadgets purchasing insurance would be     14   Thomas Carulli was an alleged lawyer on this
15   sufficient to remedy that breach.                 15   letter; we said yes.
16       Q. Do you have any recollection on            16       Q. Right.
17   how QVC was affected by this lack of              17            It's the same Thomas Carulli,
18   insurance?                                        18   correct?
19       A. I don't have specific -- we have           19       A. Same one.
20   an obligation to fulfill the terms of our         20       Q. And he stated on this e-mail that
21   contracts with QVC. How if affects them on        21   there is no reasonable dispute that Interworks
22   the other side, I don't know. We -- we, by        22   granted Digital Gadgets the exclusive right to
23   virtue of our reputation, you asked me how        23   sell through QVC and Zulilly; who is Zulilly,
24   long I'm doing business with them, which was      24   to your understanding?
25   from 2008, have to adhere to certain standards    25       A. It's a retailer.
                                             Page 46                                                  Page 48
 1   around products and reputation for having          1       Q. Is it an online retailer?
 2   insurance, and the lack of insurance is a          2       A. I guess you could call it that,
 3   large problem.                                     3   yeah.
 4       Q. Well, you may not recall seeing             4       Q. Do they have retail shops?
 5   the insurance policy or you may not be             5       A. I don't believe so.
 6   personally involved in obtaining such              6       Q. Do you recall Interworks signing
 7   insurance coverage?                                7   any of the exclusive right to sell agreement
 8       A. Correct.                                    8   with respect to Zulilly?
 9       Q. But is it your recollection that            9       A. What was the question?
10   Digital Gadgets had to go out and purchase        10       Q. Do you recall Interworks signing
11   insurance coverage to resolve this issue with     11   any written document or written agreement
12   QVC?                                              12   granting Digital Gadgets the exclusive right
13       A. The ordinary course of business            13   to sell through Zulilly with respect to
14   would be for us to do whatever needs to be        14   Zulilly?
15   done to mitigate and provide. I don't know        15       A. I don't recall signing an
16   what we provided or what we got or when.          16   agreement.
17   Based on me looking at documents I would be       17             MR. HSU: Next one will be 5.
18   able to refresh my memory.                        18       It's a one page e-mail.
19       Q. But is it fair to say that you             19             (Tebele Exhibit 5, Document
20   knew it was provided but you don't remember?      20       bearing Bates stamp Interworks 22,
21       A. No, it's not fair to say.                  21       marked for identification.)
22       Q. You don't remember the terms of            22       Q. Let me take it back. On this
23   the policy?                                       23   document Bates stamped Interworks number 22,
24       A. No, it's not fair to say.                  24   consists of a number of e-mails, at least two.
25       Q. Okay.                                      25   On top you see an e-mail from you to Eric Lu
                                             Page 47                                                  Page 49

        EXHIBIT 10             H I N E S        R E P O R T E R S                                13135
                                                                                                    (46 - 49)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 19 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:920         Deposition of Charles Tebele
 1   dated February 17, 2017, subject was High              1   after shipping the goods, and agreeing to
 2   Roller Returns from QVC.                               2   terms and conditions with Digital Gadgets,
 3           And you said to Eric "Noted on                 3   Interworks then went to seek Bibby's approval,
 4   the below, we will work it out."                       4   rather than getting it prior to him shipping
 5           And you further said "Do you know              5   it.
 6   if Bibby spoke to Rosenthal?"                          6       Q. Do you know why Interworks is
 7           Who's Rosenthal?                               7   trying to get Digital Gadgets hooked up with
 8       A. Rosenthal is the factor for                     8   Bibby?
 9   Digital Gadgets.                                       9       A. They wouldn't get them hooked up.
10       Q. To your recollection, when you                 10       Q. Was it because Bibby will pay
11   composed this e-mail to Eric, Digital Gadgets         11   Interworks first for the account payable on
12   was trying to get a line of credit from Bibby?        12   the side of the Digital Gadgets?
13       A. I don't think the way you are                  13       A. The way I would understand how
14   phrasing it is proper.                                14   factoring would work, that would be a
15       Q. Let's look at the e-mail down                  15   reasonable assumption, but I don't know what
16   below.                                                16   Bibby's relationship was.
17           This was written by Eric Lu on                17            But it's clear to me that from
18   the same day to Chris and Charlie, and that           18   this e-mail that the goods were shipped and
19   Charlie is you, right?                                19   then he seeked (sic) the credit approval from
20       A. That's me.                                     20   Bibby after -- not the other way around, which
21       Q. And Chris is -- was Chris                      21   would be a traditional way to do it. So maybe
22   Mitchell?                                             22   he was in trouble with his factor or I don't
23       A. Yes.                                           23   know what, but...
24       Q. Eric says here, "I can support                 24       Q. The reason he sent this letter,
25   you guys on the Mini."                                25   was it because he wanted to --
                                                 Page 50                                                 Page 52
 1            Do you know what Mini is?                     1        A. He wanted to sell us more goods.
 2       A. It's a certain version of the                   2        Q. Exactly.
 3   hoverboard.                                            3        A. And even more goods on top of the
 4       Q. Okay.                                           4   fact that we already had goods, and wanted to
 5            "However, we still don't have our             5   give us more goods, but Bibby didn't approve
 6   factor to approve you guys."                           6   it, and then on top of giving us more goods
 7            Who was "our factor" referred to              7   then go around and sell them behind our back
 8   by Eric Lu here?                                       8   and not have the insurance and all these
 9       A. My assumption is, I mean I can't                9   things, that's basically, and me go do the
10   speak for him, but my assumption is Bibby.            10   work to make his factor happy, that's the way
11       Q. Okay.                                          11   it looks like to me, like a whole big scheme.
12            He further says "Like I had said             12        Q. Let me ask you this: For all the
13   before, I could give you guys terms only if           13   goods that Digital Gadgets had purchased from
14   our factor approves you. I have been nervous          14   Interworks, is it your recollection that all
15   about Model C."                                       15   of these goods had been sold?
16            Was the Model C the only model of            16        A. I don't know.
17   Digital Gadgets purchased from Interworks?            17        Q. And delivered to QVC or QVC's
18       A. I don't know.                                  18   customers?
19       Q. Is it your recollection that                   19        A. I don't know.
20   Bibby ultimately did not approve Digital              20        Q. Here on the second paragraph,
21   Gadgets?                                              21   Eric Lu said that Digital Gadgets still owes
22       A. I don't know. I don't know.                    22   $35,000, did this -- do you remember that this
23   Digital Gadgets bought the goods from                 23   number is correct when he wrote this e-mail to
24   Interworks. Interworks shipped the goods.             24   you and Chris reminding you that Digital
25   What it appears to me from this e-mail is             25   Gadgets still owed 35k to Interworks?
                                                 Page 51                                                 Page 53

        EXHIBIT 10               H I N E S            R E P O R T E R S                             14136
                                                                                                       (50 - 53)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 20 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:921                        Deposition of Charles Tebele
  1     A. The number might be correct, but           1     Q. Okay.
  2 there might be a reason for it, so what he is     2         Also it could be -- it could be
  3 he stating is he got $400,000 and there was a     3 based on approved discount by the vendor?
  4 balance of 35k.                                   4     A. Could be -- could be on a
  5     Q. 35k he says here is not so much,           5 discount, could be an advertising program,
  6 so I don't want to chase you guys; do you         6 could be.
  7 remember what was the unit price for each         7     Q. Could be a lot of things?
  8 hoverboard?                                       8     A. Could be a lot of things, but it
  9     A. I don't know.                              9 doesn't look out of line that on $400,000
 10     Q. Was it about a-hundred-something          10 worth of payments there might be $35,000 worth
 11 bucks?                                           11 of these things.
 12     A. I really don't remember. If it            12     Q. Right, and the 400k for the first
 13 was 35k outstanding, there would be a reason     13 shipment, at the time only $35,000 was owed
 14 for the 35k to be outstanding.                   14 which is less than ten percent?
 15     Q. What would be the reason?                 15     A. Right.
 16     A. There could be various reasons.           16     Q. But if you look at this e-mail
 17     Q. I don't want you to speculate.            17 and the subsequent e-mail, there's nothing
 18     A. If you are asking me the reason           18 mentioning about the reason for this balance
 19 for this particular -- particular 35k --         19 of 35k?
 20     Q. I'm asking you that. I was                20     A. Well, there is an e-mail trail
 21 asking you for that.                             21 below it, but it's not there. This is just a
 22     A. I don't have that reason. I               22 snippet of one e-mail.
 23 could refresh my memory looking at documents, 23        Q. Okay.
 24 but off the top of my head, just as general      24         THE WITNESS: Can we take a
 25 business practice there are many reasons that    25         one-minute break or two-minute
                                             Page 54                                                  Page 56
 1   one company says that the amount owed is this,     1       break?
 2   the other company says what we owe is this and     2            MR. SHU: Sure.
 3   there are mitigating reasons for the               3            (Recess taken.)
 4   reconciling differences.                           4            MR. HSU: Next in order will be
 5           You could send a client a bill             5       number 6.
 6   for $13,600 for "X" amount of hours, and the       6            (Tebele Exhibit 6, Document
 7   client can come back and say well, I have          7       bearing Bates stamps Interworks 42
 8   record that you worked this many hours and pay     8       through Interworks 54, marked for
 9   you that, and then there is reconciling            9       identification.)
10   differences.                                      10       Q. Number 6 consists of e-mails of
11       Q. Well, one of the reasons,                  11   twelve pages, a string of e-mails.
12   generally speaking, between merchants for         12            These document pages were
13   mitigating or for disputing the invoices is       13   Bates stamped from number 42 through 54.
14   defective products, right?                        14   Let's start with number -- page number 1 or
15       A. Could be one of the reasons.               15   Interworks 42, bottom right of the page.
16       Q. Was it -- was a defective product          16            The top e-mail was composed and
17   the reason that Digital Gadgets had not paid      17   sent by Chris Mitchell to Sam, Gillian Yip,
18   or owed a balance of 35,000?                      18   Eric Lu and have you cc'd on it, the subject
19       A. It could be one of the reasons.            19   was High Roller Model C Returns. The date of
20   In a general sense QVC, due to the nature of      20   this e-mail was April 6, 2017. Chris Mitchell
21   their business, returns products on a regular     21   said "Hi, Sam, the goods are at the
22   basis, so there could be a reserve against        22   warehouse."
23   returns in transit or the reserve based on        23            The goods that he referred to in
24   what the estimated returns would be, that         24   this e-mail were Model C hoverboards?
25   could be.                                         25            MR. LAZARUS: That's a question?
                                             Page 55                                                  Page 57

        EXHIBIT 10            H I N E S         R E P O R T E R S                               15137
                                                                                                   (54 - 57)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 21 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:922                         Deposition of Charles Tebele
  1     Q. That's a question.                         1 5,700 units?
  2          Do you know that the goods being         2      A. No.
  3 referred to here by Chris Mitchell were the       3      Q. Was it because Digital Gadgets
  4 Model C hoverboards sold by Interworks to your    4 told Interworks that I still have those 5,700
  5 company?                                          5 units in our warehouse, you can come pick them
  6     A. That's what the header says, but           6 all up if you want to?
  7 I don't know without looking through the back     7      A. It's possible. But I'm looking
  8 e-mails.                                          8 at an e-mail on the string from Chris that
  9     Q. That's fair.                               9 says the goods are at the warehouse, but we
 10          Let's go to -- you see the Bates        10 were discussing with Eric about purchasing
 11 number on the bottom right, right?               11 more of them and waiting for more details
 12     A. Yeah.                                     12 before finalizing, so I'm sure there were
 13     Q. Let me just direct you to a               13 subsequent conversations after April 6th about
 14 specific page.                                   14 this return.
 15          Let's look at page 46.                  15      Q. Okay.
 16     A. Yes, so 46 says we are prepared           16           Let's go over to 51, Interworks
 17 the trailers for pickup for total of 5763 --     17 51.
 18     Q. 5,763 units of high roller                18      A. (Witness complying.)
 19 hoverboard?                                      19      Q. At the bottom right?
 20     A. Right.                                    20      A. Yep.
 21     Q. High roller hoverboard sold to            21      Q. You see at the bottom of this
 22 your company by Interworks back then consists    22 page, there is an e-mail from Chris Mitchell?
 23 of only one model, which was Model C, correct?   23      A. Yes.
 24     A. I don't know. I would assume so.          24      Q. Dated March 10, 2017 and Chris
 25     Q. All right.                                25 Mitchell was writing this e-mail to Sam? In
                                                Page 58                                                   Page 60
 1            At all times in the past, do you             1   this e-mail Chris Mitchell outlined a
 2   know there were two different models of               2   proposal. Did he tell you -- you were cc'd on
 3   hoverboard sold by Interworks to Digital              3   this e-mail to, right?
 4   Gadgets, or there was only one model?                 4       A. I don't know.
 5       A. There were multiple models.                    5       Q. If you look --
 6       Q. Are you aware of this return --                6       A. Yeah, I'm cc'd on this e-mail.
 7   are you aware of this term called RMA?                7       Q. Right.
 8       A. Yes.                                           8           And then --
 9       Q. And that's the initial for return              9       A. But I'm not sure if this one -- I
10   merchandise authorization?                           10   see the one from Eric. I see one from Chris,
11       A. Yes.                                          11   I don't know if I'm cc'd on it.
12       Q. And this number, 1393, for a                  12       Q. Okay.
13   total of 5,763 units of hoverboards?                 13           Did Chris Mitchell report to you
14       A. Yes.                                          14   about this proposal?
15       Q. Do you know what happened to this             15       A. Yes.
16   RMA number 1393 with respect to the 5,763            16       Q. That he was making to Eric, and
17   units of hoverboards?                                17   this proposal involves a number of payments at
18       A. No.                                           18   different times and it also -- also a number
19       Q. Do you know that Interworks                   19   of hoverboard at a discounted price, 160. If
20   intended to pick them all up after the e-mail        20   you look at the bottom of Interworks 51, Chris
21   was sent by Sam to Chris Mitchell along with         21   Mitchell said we'll be keeping a thousand
22   other people?                                        22   boards at the 160; do you know that was a
23       A. (No response.)                                23   discounted price that he was proposing?
24       Q. Let me ask you this: Did you                  24       A. I don't know that it was a
25   know why Interworks wanted to pick up those          25   discounted price.
                                                Page 59                                                   Page 61

        EXHIBIT 10              H I N E S            R E P O R T E R S                              16138
                                                                                                       (58 - 61)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 22 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:923         Deposition of Charles Tebele
 1       Q. And then you go to the next page               1            Is it your understanding, prior
 2   and essentially we agreed to pay weekly for           2   to this day, the written exclusive contract
 3   what is sold. We agree to send a sales report         3   had not been drafted by anybody?
 4   on Monday from the prior week and then a wire         4       A. It's not my understanding. I
 5   on the coming Friday.                                 5   don't know that there was or there wasn't, but
 6       A. Yeah, I see that.                              6   what this looks like to me is that they were
 7       Q. Right around the time, meaning                 7   talking about other accounts, and maybe based
 8   March 10, 2017, when this e-mail was sent to          8   on all the back and forth, it looks like they
 9   Interworks by Chris Mitchell, do you know how         9   wanted to outline it in the contract based on
10   much of the invoice of Interworks issued to          10   whatever conversation they had.
11   Digital Gadgets were not paid or were not            11       Q. Did Chris Mitchell ever discuss
12   satisfied?                                           12   with you before he sent this proposal to Eric
13       A. If you are asking me knowing the              13   Lu?
14   amount now looking, no, I wouldn't. I would          14       A. Yes.
15   be able to look at reports and refresh my            15       Q. Was Chris Mitchell correct in
16   memory and provide it.                               16   stating that there was 5,000 plus of
17       Q. Okay.                                         17   hoverboards that you had in inventory at the
18            If you look at the second                   18   time?
19   paragraph from the top, on Interworks 52 for         19       A. I don't understand the question.
20   the remaining 30 percent outstanding, we agree       20       Q. Well, it says Chris Mitchell said
21   to pay a third of the remaining 30 percent.          21   we will take remaining boards, 5,000 plus that
22   Did Interworks ever agree with this proposal,        22   we have in inventory.
23   to your understanding?                               23       A. So what's the question?
24       A. It says here we had a                         24       Q. The question is: To your
25   conversation with Eric and here I have               25   recollection, was Chris Mitchell correct in
                                                Page 62                                                    Page 64
 1   outlined the implication of next steps, so I          1   saying that Digital Gadgets still had over
 2   don't know -- then I see Eric saying confirm.         2   5,000 units of hoverboards in inventory?
 3   So looks to me that he did.                           3       A. I would assume that to be
 4       Q. Let's go to the next page.                     4   correct.
 5       A. Next page of what?                             5       Q. Do you know subsequent to this
 6       Q. Next page of this document.                    6   e-mail sent to Eric Lu, did Interworks and
 7       A. What number?                                   7   Digital Gadgets ever reach an agreement with
 8       Q. Interworks 53, very next.                      8   respect to this proposal?
 9       A. (Witness complying.)                           9       A. Can you please repeat the
10       Q. There is only one e-mail on this              10   question? Is this --
11   page, and then we'll continue on to the next         11       Q. There is a proposal as reflected
12   page. This is an e-mail composed and sent by         12   on this e-mail, did this proposal ever lead to
13   Chris Mitchell on April 16, 2017 to Eric Lu,         13   any written agreement?
14   subject, our proposal, and then here Chris           14       A. I don't know.
15   Mitchell was proposing, as you can see down          15       Q. Chris Mitchell was general
16   below, one, will take remaining boards 5,000         16   manager when he sent this e-mail out to
17   plus that we have in inventory.                      17   Eric Lu, right?
18            Second line, we'll pay 50 percent           18       A. What was the question?
19   on May 1, the other 50 percent on June 5 wire.       19       Q. Was he -- what was the job title?
20   There's some other terms being proposed -- oh,       20   Let's look at Interworks 54, the very next
21   the third line says by him, he said, with            21   page.
22   that, "we need the exclusive contract drafted        22       A. (Witness reviewing.)
23   per" our discussion -- "per our conversation.        23       Q. See on top "Talk soon. Thanks,
24   Need to know we are being protected in our           24   Eric. Chris. Chris Mitchell, general
25   class of trade moving your boards."                  25   manager"?
                                                Page 63                                                    Page 65

        EXHIBIT 10              H I N E S         R E P O R T E R S                                  17139
                                                                                                        (62 - 65)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 23 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:924         Deposition of Charles Tebele
 1       A. Yes, Chris was the general                     1   number to answer based on the amount of
 2   manager.                                              2   activity that goes on in the warehouse or in
 3       Q. Was he always the general manager              3   accounts payable.
 4   when he was working for Digital Gadgets?              4            You follow what I'm saying?
 5       A. He was working for Techpoint,                  5       Q. Yeah, I'm following what you are
 6   LLC.                                                  6   saying.
 7       Q. Techpoint, LLC, okay.                          7            All the information, the items
 8            And Techpoint, LLC was                       8   you just made reference to, you had the
 9   outsourcing vendors for Digital Gadgets?              9   ability to get in your company's computer and
10       A. Sourcing.                                     10   put that -- have them all printed out on
11       Q. Sourcing.                                     11   paperwork after you have time to go over them,
12            Do you know what happened to the            12   you would have pretty good idea of how many
13   remaining 5,000-plus hoverboards in inventory?       13   units were sold?
14       A. No.                                           14       A. Correct.
15       Q. Were these records eventually all             15       Q. And how much money was paid by
16   sold to QVC and/or its customers?                    16   QVC, how much money was paid by Digital
17       A. I don't know all -- what                      17   Gadgets to Interworks with respect to these
18   quantity. I know some boards were sold, I            18   goods?
19   don't know the exact numbers or what's               19       A. Yes.
20   remaining or what's left.                            20       Q. And you had the ability to do
21       Q. Who at Digital Gadgets would have             21   that because you have access into your
22   that personal knowledge?                             22   company's computer?
23       A. Personal knowledge nobody would               23       A. Yes.
24   have, but we would have access to reports and        24            MR. HSU: This will be number 7.
25   computer generated reports to see who they           25            (Tebele Exhibit 7, Document
                                                Page 66                                                  Page 68
 1   were sold to, when they were sold and what's          1       bearing Bates stamp Interworks 88,
 2   remaining. No one would retain personal               2       marked for identification.)
 3   knowledge of numbers like that.                       3       Q. Number 7 is a short page that has
 4       Q. Well, you were here yesterday                  4   two e-mails. On top you can see -- well, we
 5   with Mr. Asamoah, remember that, Mr. Asamoah?         5   don't know who sent it, but if you look at the
 6       A. Yes.                                           6   content of the e-mail, you see Gillian Yip,
 7       Q. He was in charge of the POs and                7   Essential Logistic Fulfillment; that's the
 8   invoices and receiving report; he would have          8   company that you formed to provide services on
 9   that personal knowledge of how many?                  9   logistics to Digital Gadgets, right?
10       A. Of how many were sold, no.                    10       A. Yes.
11       Q. What about Ms. Gillian Yip, she               11       Q. Okay.
12   was in charge of warehousing?                        12            And Ms. Yip says here "According
13       A. Yes.                                          13   to the notes on your accounts, Interworks is
14       Q. Specifically the shipments of                 14   currently on hold pending legal review."
15   products to QVC's customers or QVC; would she        15            Do you understand why she said
16   have personal knowledge of how many units were       16   Interworks is currently on hold?
17   sold to QVC and/or its customers?                    17       A. Do I understand why?
18       A. Please refer to my statement. My              18       Q. Yes.
19   statement is that nobody would retain such           19       A. I understand what it means.
20   personal knowledge unless they were guessing.        20       Q. Can you tell me the meaning of
21            The amounts are reflected in our            21   that?
22   computer systems as to what were sold, who           22       A. It means that our legal
23   they were sold to, how many are remaining.           23   department placed the company on hold.
24   When you start using numbers like 5,000 and          24       Q. And do you know why?
25   did they all ship, that's just an impossible         25       A. Why the company was put on hold?
                                                Page 67                                                  Page 69

        EXHIBIT 10              H I N E S         R E P O R T E R S                                 18140
                                                                                                       (66 - 69)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 24 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:925                         Deposition of Charles Tebele
  1     Q. Right.                                     1     Q. And do you recall the form of
  2     A. I mean, looking at this letter             2 these documents that you received from QVC?
  3 dated -- Interworks 7, dated May 19th, and        3     A. What do you mean?
  4 looking at this e-mail from Gillian, which is     4     Q. Did QVC send you a letter saying
  5 dated after that letter of May 19th, I would      5 that hey, all your batteries are no good now,
  6 assume it may have something to do with each      6 does not match with the battery that we
  7 other. The reasons outlined in Interworks 7       7 inspected; did you receive a letter from QVC?
  8 are the reasons why the account was put on        8     A. It's not a letter; however,
  9 hold.                                             9 subsequent to all of our transactions with
 10     Q. That letter written by your               10 Interworks, we submitted one of the boards for
 11 lawyer, Thomas Carulli, specifically stated      11 testing for a new program that we were doing
 12 two complaints or two claims concerning the      12 with QVC, which was supposed to be the same as
 13 breach of the exclusive right to sell to QVC     13 the boards that we were selling all along to
 14 and failure to maintain the required insurance   14 QVC, and QVC alerted us that the units failed
 15 coverage, correct?                               15 compliance, and the reason that they failed
 16     A. Yep.                                      16 compliance were due to batteries that were not
 17     Q. Okay.                                     17 matching what was submitted, which led us to,
 18         Again, based on your                     18 by process of elimination, determine that we
 19 recollection, were these the two reasons that    19 were selling incorrectly the item that QVC
 20 caused your company to place Interworks'         20 thought it was buying, based on what
 21 account on hold?                                 21 Interworks represented to us that they were
 22     A. I believe there were other                22 selling to us.
 23 reasons as well that might have happened         23     Q. Do you recall when you first,
 24 subsequent to May 19th, but I don't know if it   24 meaning you, meaning Digital Gadgets, when did
 25 was prior to this e-mail.                        25 Digital Gadgets first receive any notice from
                                              Page 70                                                Page 72
 1       Q. And what were these other                    1   QVC concerning the battery issue?
 2   reasons, if you recall?                             2       A. I would need to look at documents
 3       A. There was a serious fraudulent               3   to refresh my memory.
 4   conveyance of the items that were sold to us        4       Q. Was it after your lawyer sent
 5   relative to the part that was approved by QVC,      5   this letter out?
 6   and the battery that was inside the unit did        6       A. I would imagine that it would be
 7   not match specifications of what we purchased.      7   after or it would have been on that letter.
 8       Q. Well, when you say "fraudulent               8       Q. And it would be after Chris
 9   conveyance," what do you mean by that?              9   Mitchell sent this proposal in April to
10       A. I didn't use the term "fraudulent           10   Eric Lu?
11   conveyance."                                       11       A. I don't know. It is possible
12           MR. HSU: Can you read that back?           12   that QVC could have notified that there was an
13           (Record read.)                             13   issue that didn't rise to the level of what we
14       A. There was a fraudulent -- so                14   now had suspected would be fraudulent. It
15   those two -- take those two words separately.      15   could be clerical, it could be -- I don't know
16   Fraudulently we were sold boards that had been     16   at what time the notice would happen when it
17   conveyed to us that there was a certain            17   would start, but certainly it elevated, and at
18   battery inside those units that were not the       18   the time that it elevated I assume would be
19   batteries that were approved by QVC for sale.      19   after this May 19th letter.
20       Q. How did you know about that?                20       Q. Okay.
21       A. QVC reported that to us.                    21             Did you have any meeting with QVC
22       Q. And did you receive any paperwork           22   concerning the battery at issue?
23   from QVC stating that these batteries were         23       A. I'm sure that people in the
24   nonconforming batteries?                           24   company had meetings or phone calls.
25       A. Yes.                                        25       Q. Do you recall when you received,
                                              Page 71                                                Page 73

        EXHIBIT 10            H I N E S         R E P O R T E R S                               19141
                                                                                                   (70 - 73)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 25 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:926         Deposition of Charles Tebele
 1   when I say you, I meant Digital Gadgets, do          1   goods?
 2   you recall when Digital Gadgets received             2       A. No, we would put everything on
 3   notice from QVC concerning the battery issue,        3   hold. If there's evidence that we need, if
 4   how many hoverboards at the time still               4   there's anything, we wouldn't touch anything.
 5   remained in the warehouse of QVC or subject to       5   Once we discover a fraudulent situation, our
 6   control of -- not QVC, let me try to -- strike       6   business practice is to put everything on
 7   that.                                                7   hold, stop selling it, stop shipping it, stop
 8            When you realized that there was            8   moving it, don't touch it until our attorneys
 9   a problem concerning the battery issue and you       9   advise us what to do.
10   received any notice -- the first notice from        10       Q. At the time, did you decide not
11   QVC about this particular issue, did Digital        11   to sell them pending the on hold?
12   Gadgets still have hoverboards, or Interworks,      12       A. Please refer to my statement that
13   in the warehouse?                                   13   I just said.
14       A. I'm pretty sure we did, yes.                 14       Q. I understand what you are saying,
15       Q. Did you ask anybody else to tell             15   but, you know, I could not get the -- maybe I
16   you how many units of hoverboards that still        16   will try another way.
17   remained on inventory with Digital Gadgets          17       A. Everything goes on hold, that
18   (sic)?                                              18   means everything goes on hold, that means we
19       A. I don't understand this question             19   stop now. There could be a sequence of
20   at all.                                             20   events, there could be time that it takes for
21       Q. Well, were you concerned at the              21   every department to get the message, but the
22   time when Digital Gadgets received notice from      22   message is we have been defrauded, we have a
23   QVC for this issue, battery issue, did you          23   serious issue in terms of reputation with QVC,
24   have concern that Digital Gadgets should            24   customer exposure, what we sold, liability, so
25   return these hoverboards back to Interworks         25   the instruction is we hold everything until
                                               Page 74                                                 Page 76
 1   because of this battery issue?                       1   our attorneys tell us what to do. Hold means
 2       A. I don't really understand. I                  2   hold. Means we don't touch them, we don't
 3   really don't understand the question. You are        3   ship them, we don't sell them to customers.
 4   asking me if there was a concern to return           4             And again, it may take time to
 5   them? Really what you are saying doesn't make        5   shut down the engine, there might be goods in
 6   sense at all from a business standpoint.             6   transit, there might be things being
 7       Q. Well, when you received the                   7   processed, there might be things happening,
 8   complaint or the report or notice from QVC,          8   but the general sense is we shut down the
 9   relating to the battery issue --                     9   engine and everything goes on hold, hence the
10       A. Right.                                       10   e-mail from Ms. Yip to Sam at Interworks;
11       Q. -- did you at the time want to               11   Interworks is currently on hold pending legal
12   return all of those hoverboards remaining on        12   review.
13   inventory with you to Interworks?                   13       Q. Did Digital Gadgets ever receive
14       A. I don't know. It would be a                  14   a bill from or multiple bills from QVC that
15   developing situation and the general business       15   have anything to do with the battery issue?
16   practice would be put -- would be to put            16       A. I don't know what you are talking
17   everything on hold once we discover we have a       17   about.
18   serious breach like that and figure out what        18       Q. Did QVC ever make a claim of
19   happened later.                                     19   damages against Digital Gadgets because
20       Q. If you had known a problem from              20   Digital Gadgets was supplying these
21   your customer pertaining to quality, not            21   hoverboards that had the wrong battery or
22   quantity, quality, of the goods --                  22   defective battery?
23       A. Yep.                                         23       A. We were subject to very serious
24       Q. -- out of ordinary course of                 24   conversations with QVC over this issue. There
25   business, would you not want to return those        25   was a severe reputational issue.
                                               Page 75                                                 Page 77

        EXHIBIT 10              H I N E S        R E P O R T E R S                               20142
                                                                                                    (74 - 77)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 26 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:927                         Deposition of Charles Tebele
  1     Q. Where did this conversation take           1 what I guess the implication is we would need
  2 place?                                            2 to have some complaint or some evidence to
  3     A. With buyers, with quality                  3 take action, and what I'm telling you is, as
  4 assurance people, many different                  4 soon as we discovered the problem and the
  5 conversations.                                    5 problem rose to a level where it was serious,
  6     Q. Do you recall when?                        6 we stopped.
  7     A. No.                                        7     Q. And what did you do after you
  8     Q. Do you recall where?                       8 stopped? You mentioned about a few things
  9     A. At QVC.                                    9 that -- other than those things that you
 10     Q. And were you present?                     10 mentioned, any other efforts that you had set
 11     A. I was present.                            11 in place to confront this issue?
 12     Q. And do you recall -- do you               12     A. I don't know, but at some point
 13 recall who else was present at QVC for that      13 it became a legal issue, and once it became a
 14 issue?                                           14 legal issue it took on a life of its own and I
 15     A. Our reps and buyers and sales             15 guess that's why we are sitting here.
 16 reps.                                            16     Q. Well, QVC discovered this issue
 17     Q. Are you able to recall the names          17 and --
 18 of QVC's employees attending that meeting?       18     A. No. QVC told us that this is not
 19     A. I would need to look at e-mails           19 what we submitted. We submitted this and when
 20 to refresh my memory.                            20 we opened the box it was that. That's not
 21     Q. To your knowledge, was there any          21 good. If I tell you I'm handing you a wallet
 22 QVC customers returned any of the hoverboards    22 with $10 in it, and you took it home and you
 23 supplied by Interworks because of the battery    23 got $5 and somebody calls you and says I only
 24 issue?                                           24 got $5, not 10, the 10 that you promised me,
 25     A. I don't know. I don't know what           25 that's a problem.
                                               Page 78                                                 Page 80
 1   reason customers use for returns, I wouldn't         1      Q.     Right.
 2   have access to that.                                 2      A.     Right.
 3       Q. That's fair.                                  3      Q.     Right.
 4            Did you receive any notice from             4            And --
 5   QVC concerning how many returns made by their        5       A. And if I go back and say the guy
 6   customers, because of the battery issues?            6   who gave me all these $10 wallets only put $5
 7       A. Again, we don't get the reason                7   in them, I'm gonna start looking to see where
 8   for the return, we just get the return. If           8   the problems lie.
 9   you knew you were providing fraudulent               9            Does that make sense to you?
10   services to one of your clients, would you          10       Q. When you receive indications or
11   wait for one of your clients to say -- if you       11   reports that led you to believe that there --
12   realize you were providing fraudulent services      12   the batteries supplied by Interworks were
13   to your client and you realized that by             13   defective, not matching with whatever they
14   accident, and are you gonna wait for your           14   submitted for sample testing by QVC, is that
15   client to complain that you are providing           15   your statement (sic)?
16   fraudulent services before you take action?         16       A. Say that one more time.
17       Q. Well, I would not be able to                 17       Q. When you -- by the way, do you
18   answer that question, because I --                  18   know your company had to submit some samples
19       A. I don't think you need to answer             19   to QVC before you started selling the
20   it.                                                 20   hoverboards to QVC?
21       Q. I wouldn't know the definition of            21       A. That's not entirely accurate.
22   fraudulent.                                         22       Q. Oh.
23       A. I don't think you need to answer             23            Which part was not entirely
24   it. So what you are asking me is, did we get        24   accurate?
25   notice or did someone at QVC complain, and          25       A. All of it.
                                               Page 79                                                 Page 81

        EXHIBIT 10              H I N E S         R E P O R T E R S                              21143
                                                                                                    (78 - 81)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 27 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:928                        Deposition of Charles Tebele
  1     Q. The question, very simple: Did             1     A. That's what it says.
  2 you know Digital Gadgets had to submit samples    2     Q. Okay.
  3 to QVC for testing and approval before you        3         Does it say that the -- by the
  4 started selling them?                             4 way, what is the products described on this
  5     A. That's not true.                           5 report?
  6     Q. Not true?                                  6     A. (No response.)
  7     A. No. In this case, because                  7     Q. Description on top, you see Chic
  8 Interworks purported to sell us the unit that     8 High Roller Self Balancing Hoverboard W? I
  9 was already approved by QVC, QVC allowed us to 9 don't know what that "W" means. Do you know,
 10 sell it based on our reputation and vouching     10 W slash --
 11 for the fact that it was the same model, so we   11     A. What are you asking me?
 12 began to sell it without submitting a sample.    12     Q. I'm asking if you know what that
 13 And only after five months later when we         13 means? I have no idea what that means. What
 14 needed to submit a sample for a new program      14 the W at the end and slash, what does that
 15 and new orders did we then submit them a         15 mean?
 16 sample, and then determined that what we were    16     A. Probably is truncated that
 17 selling them all along was fraudulent.           17 there's some words after that, but it doesn't
 18     Q. You are 100 percent sure about            18 pick up on the form.
 19 that?                                            19     Q. The reason I was asking you,
 20     A. I'm sure of what I just said.             20 because I don't know what that means.
 21     Q. Okay.                                     21         If you go through this report, it
 22          That's very good answer. I'm            22 seems like the samples submitted by Interworks
 23 just --                                          23 to QVC passed the testing?
 24     A. That doesn't mean that's 100              24     A. Yes.
 25 percent of what occurred.                        25     Q. Is there anything -- you see the
                                               Page 82                                                  Page 84
 1        Q. Well, that's based on your                   1   second page of this exhibit, the Bates number
 2   recollection that's what happened, right?            2   Interworks 213 in the midsection of the page
 3        A. Yes.                                         3   where it says battery identification, four
 4        Q. Okay.                                        4   battery packaging, four general electrical
 5            MR. HSU: Let's mark this as 8.              5   requirement test, Interworks passed all of
 6            (Tebele Exhibit 8, Document                 6   those things, right?
 7        bearing Bates stamps Interworks 212             7       A. I don't know what -- I mean you
 8        through Interworks 221, marked for              8   are making a statement, I guess, yeah.
 9        identification.)                                9       Q. So you were saying that
10        Q. Exhibit 8 is a computer generated           10   Interworks -- I'm trying to understand what
11   form on top of the first page says QVC, QA          11   your claim is. One of your claims is that
12   sample, evaluation report?                          12   Interworks fraudulently --
13        A. Correct.                                    13       A. Interworks had got this board
14        Q. And have you ever seen this                 14   approved.
15   entire report?                                      15       Q. Right.
16        A. I have seen this form. I don't              16           MR. LAZARUS: Referring to?
17   know if I've seen this report before, but I'm       17       A. Interworks 212.
18   familiar with the form.                             18       Q. This is 8.
19        Q. And if you look at those days,              19       A. The item on this Exhibit Number 8
20   probably the seventh or eighth line from the        20   was approved for sale by QVC.
21   top, indicates that the sample evaluation due       21       Q. And QVC --
22   date, pick due date, requested due date, look       22       A. And you want me to continue to
23   at those days, do those tell you that the           23   answer, make it easier?
24   samples were submitted to QVC by Interworks in      24       Q. Sure.
25   early October?                                      25       A. Interworks sold us this board,
                                               Page 83                                                  Page 85

        EXHIBIT 10              H I N E S         R E P O R T E R S                                22144
                                                                                                      (82 - 85)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 28 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:929         Deposition of Charles Tebele
 1   item number T34604, purportedly the same           1       A. I didn't say for retesting.
 2   board, that's what we ordered, that's what we      2       Q. For testing. This was after your
 3   told QVC we were gonna be shipping them.           3   lawyers sent a letter to Eric Lu?
 4   Subsequently, in April, May or June or March       4       A. No.
 5   or I don't know what date when we submitted        5       Q. Or could be before?
 6   these very boards to QVC, they failed with QVC     6       A. I would imagine it was somewhere
 7   telling us that's not the same battery.            7   in -- I don't know when the submission
 8            When we went back and said --             8   started, and I don't know what the report back
 9   referred them to this very report and said         9   happened in relation to that letter.
10   wait a minute, it passed, what do you mean        10       Q. But there was a submission
11   it's the same, they said no, it's not the         11   happening, and the problem discovered after
12   same, which means that until we submitted         12   QVC notified you that hey, the samples you
13   it -- from the time that we started, to the       13   submitted for testing does not match --
14   time that we submitted it, there was something    14       A. It wouldn't happen like that. We
15   very rotten going on, because it wasn't this      15   wouldn't -- if it failed, we wouldn't first
16   passed board.                                     16   suspect that the vendor committed fraud on us.
17        Q. Do you know why QVC asked Digital         17   We would first try to, in the ordinary course
18   Gadgets to submit these samples for testing in    18   of business, say wait, it must be wrong, must
19   March, April or May of 2017?                      19   be right, let's see what it is. Only after
20        A. There was a new program, and              20   very many back and forths in this case did we
21   based on a new program sometimes they require     21   end up saying, wait a minute, we have a
22   a new submission, and based on that new           22   problem.
23   submission, which were the same boards that we    23            In other words, if we submit it
24   bought from the first day from the same batch     24   and it failed, you see this document Exhibit 8
25   of 5,000 or 7,000 or whatever thousand is         25   how many different areas of compliance there
                                             Page 86                                                 Page 88
 1   rolling around here, we kept sending boards to     1   are, each one is -- it could take weeks or
 2   QVC saying no, this can't, it's the same           2   months to figure out the very nature of the
 3   board, no, it says T346, whatever, and they        3   failure and point out to, by process of
 4   are saying no, it's different, it's failed.        4   elimination, that the batteries didn't match,
 5             So that would lead us to believe         5   and it was through a lot of work and back and
 6   we were selling failed boards to our large         6   forth that we had to get to that
 7   customer.                                          7   determination.
 8        Q. And when you said there was a new          8       Q. What decision made by QVC, if you
 9   program, that new program was put in place by      9   know, specifically with respect to Model C
10   QVC, right, it was not your decision, it was      10   hoverboard that they purchased from you, when
11   their decision, meaning QVC's decision to         11   they realized there was an issue on battery
12   initiate this new program?                        12   (sic)?
13        A. I don't know whose decision it            13       A. I really don't understand your
14   is.                                               14   question.
15        Q. And after QVC tested a few                15       Q. Did QVC request that your company
16   examples that your company submitted, in          16   take back all of the Model C hoverboards
17   March, April or May, and notified you that the    17   because this problematic battery that does not
18   battery failed and that does not match with       18   match with what --
19   their previous model that were submitted by       19       A. I don't know what they requested
20   Interworks --                                     20   to do. I know what we would do to protect
21        A. Can you repeat it, please?                21   ourselves which would be to cease sales, to
22        Q. You said that the battery -- the          22   hold and stop and find out what the
23   battery -- well, let's start with QVC asked       23   ramifications are.
24   your company to submit a few samples for          24       Q. Did you request QVC to return all
25   retesting?                                        25   of the existing hoverboards on inventory --
                                             Page 87                                                 Page 89

        EXHIBIT 10             H I N E S        R E P O R T E R S                               23145
                                                                                                   (86 - 89)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 29 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:930         Deposition of Charles Tebele
 1       A. I don't know QVC had boards on               1   liability insurance.
 2   inventory. I don't know where you are making        2             Before you came today, did you
 3   that assumption from.                               3   review all of the certificates of liability
 4       Q. Well, did you ask QVC how many               4   insurance provided by Interworks to your
 5   boards QVC still has sitting in its warehouse?      5   company?
 6       A. Again, I don't know that that                6        A. No.
 7   would be part of the general line of                7        Q. So you've never seen this
 8   questioning. The way I understand it is we          8   document before?
 9   would ship the boards for QVC so they wouldn't      9        A. I'm not familiar with it. I may
10   have them in their warehouse.                      10   have seen it.
11       Q. Now, yesterday, I don't know if             11        Q. Okay.
12   you were here or not, did you hear that            12             Let's mark the next one and see
13   Ms. Gillian testified, Gillian Yip?                13   if you have seen this one.
14       A. Yes.                                        14             (Tebele Exhibit 10, Document
15       Q. She testified yesterday that                15        bearing bates stamp Interworks 300,
16   the -- your company would ordinarily ship          16        marked for identification.)
17   hoverboards to QVC's warehouse and QVC's           17        Q. If you look at this certificate
18   customers?                                         18   of liability insurance dated July 13, 2017,
19       A. That's correct.                             19   have you ever seen this document before?
20       Q. So when she was talking about               20        A. I may have.
21   QVC's customers, she's saying these end users,     21        Q. But you are not sure about it?
22   right?                                             22        A. I'm not sure that I have seen it
23       A. Right. The way I understand it,             23   before. I may have.
24   these boards were being shipped to end users.      24             (Tebele Exhibit 11, Document
25       Q. So there are boards that shipped            25        bearing Bates stamp Interworks 301,
                                              Page 90                                                      Page 92
 1   directly to QVC's warehouse in New Jersey and       1       marked for identification.)
 2   being stored there?                                 2       Q. Number 11, have you ever seen
 3       A. QVC doesn't have a warehouse in              3   this certificate of insurance?
 4   New Jersey.                                         4       A. I may have.
 5       Q. Or maybe she was saying some                 5       Q. Let me go back to that QVC QA
 6   other warehouse located in New York?                6   sample testing report, that was Exhibit 8.
 7       A. Let's cut to what you are trying             7            Do you recall receiving a report
 8   to say. I don't believe that QVC had boards         8   from QVC stating that the battery that came
 9   in their warehouse at the time of this.             9   with the hoverboard failed the testing and
10       Q. You don't believe there was any             10   also on the report says that the battery that
11   remaining inventory being stored at QVC's          11   came with the samples do not match with what
12   warehouse?                                         12   was previously submitted?
13       A. For sale.                                   13       A. Again, let me take you through
14       Q. What is the location of QVC's               14   how it would be. We would get a failure, it
15   warehouse?                                         15   would outline many areas of failure. Only
16       A. They have warehouses all over the           16   through going back and forth and resubmitting
17   country, but they don't have one in New            17   and trying again and resubmitting and trying
18   Jersey.                                            18   again, by process of elimination, finally get
19       Q. Do they have any warehouse in               19   down to the fact that batteries didn't match.
20   New York?                                          20            It wouldn't be, hey, you
21       A. I don't believe so.                         21   submitted this, the battery didn't match. It
22            (Tebele Exhibit 9, Document               22   would be submitted, it would be failed. It's
23       bearing Bates stamp Interworks 299,            23   like a game of ping pong, then we'd have to
24       marked for identification.)                    24   try to mitigate the failures, all the while
25       Q. Number 9 is a certificate of                25   not knowing, not even thinking in a million
                                              Page 91                                                      Page 93

        EXHIBIT 10             H I N E S         R E P O R T E R S                                 24146
                                                                                                      (90 - 93)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 30 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:931         Deposition of Charles Tebele
 1   years that the battery would be different         1   pictures and records and to protect themselves
 2   inside the units, because it's not a battery      2   against people submitting them one thing and
 3   you open up and take out. You have to             3   shipping another.
 4   actually disassemble the unit to get to the       4       Q. Again, I don't remember if you
 5   battery. It wouldn't be apparent, and QVC         5   were here when Ms. Yip testified on certain
 6   wouldn't provide us a road map and say it's a     6   questions or responded to my questions
 7   different battery. They didn't even know it       7   yesterday regarding the hoverboards that your
 8   was tied to this submission. We said, hey, it     8   company is currently selling. She, if I
 9   has to be the same battery, it has to pass,       9   recall correctly, she said, correct me if I'm
10   you passed it before.                            10   wrong, she said your company is currently
11        Q. Right.                                   11   selling hoverboards?
12        A. And they said no, sorry. Then it         12       A. Yes.
13   would lead to more and more and meetings until   13       Q. And these hoverboards were
14   we would finally be able to isolate it as a      14   manufactured by different factories?
15   different battery.                               15       A. Yes.
16        Q. Okay.                                    16       Q. Than those you got from
17            My question is: When that issue         17   Interworks?
18   was discovered by your company, you also         18       A. Yes.
19   receive a report, QA report from QVC outlining   19       Q. And when I asked her are the
20   all the failures which would also include the    20   hoverboards that your company is selling are
21   battery issues in that?                          21   all Model C, and I think she was not able to
22        A. Right, but it wouldn't say it's a        22   recall?
23   different battery, it would just say the         23       A. Model C is a term unique to
24   battery failed.                                  24   Interworks. If it was a quote/unquote Model
25        Q. Okay.                                    25   C, it would be an Interworks board.
                                            Page 94                                                 Page 96
 1      A.      You follow?                            1       Q. So the current hoverboards that
 2      Q.      I understand. I understand.            2   you are selling to QVC that were manufactured
 3            Do you recall on that report you         3   by other factories, and not exactly the same
 4   received from QVC -- how will you know --         4   model --
 5   based on that report, how will you know the       5       A. We only purchased those models
 6   hoverboard came from Interworks?                  6   after we realized we couldn't sell the
 7       A. How would we know that board that          7   Interworks boards, so they came in subsequent
 8   we submitted came from Interworks?                8   and later.
 9       Q. Right.                                     9       Q. Okay.
10       A. If it was an Interworks High              10            And your company purchased
11   Roller whatever model that we submitted.         11   directly from the manufacturer in China?
12       Q. Does the report actually say              12       A. Yes.
13   that, Interworks High Roller Model C?            13       Q. And do you recall when you first
14       A. I don't know, but if you are              14   started selling these hoverboards to QVC? I
15   asking how we know what was submitted, there     15   mean a different factory that you purchased
16   are pictures, probably, and there are records    16   and turned around and sold to QVC, do you
17   that support what we are submitting.             17   recall when you started doing that?
18            Obviously, if that was the case         18       A. I need you to rephrase the
19   we could support -- we could submit anything     19   question.
20   to QA and nobody would be able to have any       20       Q. Well, we are talking about a
21   accountability over what it would be and then    21   different factory, different manufacturers of
22   ship any other thing, so there has to be a       22   the hoverboards that your company is currently
23   trail and a supported trail that's kind of       23   selling to QVC; when did you start buying from
24   sophisticated that measures what was submitted   24   that factory?
25   versus -- and I believe even QVC takes           25       A. We've been dealing with that
                                            Page 95                                                 Page 97

        EXHIBIT 10            H I N E S        R E P O R T E R S                              25147
                                                                                                 (94 - 97)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 31 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:932         Deposition of Charles Tebele
 1   factory for many years.                               1   to.
 2       Q. So that was before you met                     2            (Tebele Exhibit 13, Document
 3   Eric Lu, you were in business with that               3       bearing Bates stamp Interworks 399,
 4   factory?                                              4       marked for identification.)
 5       A. Along many different products                  5       Q. 13 consists of two pages. On top
 6   that have nothing to do with hoverboards.             6   there is a date February 14, 2017, to Todd
 7       Q. To your knowledge, does that                   7   Valoff, V-A-L-O-F-F?
 8   factory also manufacture a similar product            8       A. Yep.
 9   like Model C manufactured by Shenzhen?                9       Q. Do you recognize this document?
10       A. I don't know, it's quite                      10       A. Yes.
11   possible.                                            11       Q. Who's Todd Valoff?
12       Q. Shenzhen is a city that is one                12       A. Todd is the representative at
13   hour away from Hong Kong roughly, right?             13   First Republic Bank that handles Digital
14       A. Yes.                                          14   Gadgets' bank account.
15            (Recess taken.)                             15       Q. Okay.
16   BY MR. HSU:                                          16            When you see on the first page of
17       Q. Next in order, Exhibit 12.                    17   this exhibit checking account balance of
18            (Tebele Exhibit 12, Document                18   26,672.74, was that the checking account of
19       bearing Bates stamp Interworks 405,              19   Digital Gadgets?
20       marked for identification.)                      20       A. That's what it says.
21       Q. 12 is an e-mail prepared and sent             21       Q. And it was -- the date this
22   by ingridchen@bibbyusa.com on Tuesday,               22   checking account was opened was back in
23   February 14, 2017, sent to Eric Lu and cc on         23   December of 2015?
24   Charlie.                                             24       A. That's what it says.
25            Mr. Tebele, have you ever seen              25       Q. Going back to the last exhibit,
                                                Page 98                                                  Page 100
 1   this e-mail before?                                   1   Ms. Chen mentioned about the checking account
 2       A. Yes.                                           2   balance of 26,000, was she mentioning this
 3       Q. Okay.                                          3   particular document?
 4            Was this the last e-mail that you            4       A. Ms. Chen?
 5   received from Bibby USA rejecting the                 5       Q. Ingrid Chen.
 6   application?                                          6       A. It could be.
 7       A. I don't know.                                  7       Q. But you don't have any personal
 8       Q. Submitted by Digital Gadgets for               8   knowledge about that?
 9   $1 million plus credit coverage?                      9       A. I mean you are showing me two
10       A. I don't know.                                 10   documents. It looks like that's what she
11       Q. To your knowledge, did Bibby                  11   would be referring to. They are on the same
12   Financial Services ever grant any credit             12   date.
13   coverage to Digital Gadgets in the past?             13       Q. Next one will be 14.
14       A. I would have no way of knowing                14            (Tebele Exhibit 14, Document
15   that.                                                15       bearing Bates stamp Digital Gadgets 154,
16       Q. After you received this e-mail,               16       marked for identification.)
17   did you personally do anything in attempt to         17       Q. 14 has a number of e-mails; one,
18   get this million dollar credit coverage?             18   two, three. On top the -- this Cheryl
19       A. I don't know.                                 19   Baiocchi sent to bunch of individuals, Chris
20       Q. Ms. Chen mentioned the bank                   20   Mitchell was one of them. You were not cc'd
21   information only shows 26,000 checking               21   on this e-mail. Have you ever seen the top
22   account. Your understanding, this 26,000 in          22   e-mail?
23   credit -- in checking account, whose checking        23       A. Possibly.
24   account was that?                                    24       Q. And if you look at the date and
25       A. I don't know who she's referring              25   time subsequent to the top e-mail, Paulette
                                                Page 99                                                  Page 101

        EXHIBIT 10              H I N E S            R E P O R T E R S                             26 148
                                                                                                      (98 - 101)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 32 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:933                       Deposition of Charles Tebele
  1 Brown at Digital Gadgets responded to -- oh,      1     Q. Will you be able to identify
  2 Cheryl was working for QVC at the time; do you    2 who --
  3 know her?                                         3     A. This is the number that QVC
  4     A. Are you asking me a question?              4 assigns to it.
  5     Q. Yes. Do you know her personally?           5     Q. Okay.
  6     A. No.                                        6         And this number then will be the
  7     Q. It seems to me that these e-mails          7 very number used to identify the hoverboards
  8 were discussing about some samples submitted      8 sold by Digital Gadgets to QVC?
  9 to QVC's testing.                                 9     A. No, this is the board that
 10          Do you have any personal                10 Interworks sold to QVC.
 11 knowledge about the subjects being discussed     11     Q. First, and then --
 12 on these e-mails?                                12     A. This number that was assigned
 13     A. Yes.                                      13 here.
 14     Q. What would that be?                       14     Q. Oh, I got it.
 15     A. What would what be?                       15     A. Is assigned on the submission
 16     Q. Your personal knowledge?                  16 that Interworks submitted.
 17     A. What we've been discussing for            17     Q. Okay.
 18 the last hour regarding the QA.                  18         And that, to your understanding,
 19     Q. Right, and you looked at the              19 that was a Model C High Roller?
 20 second e-mail from the top, Paulette, she was    20     A. I can't tell from this, but
 21 your employee, right?                            21 that's what my understanding was.
 22     A. Yes.                                      22     Q. Okay.
 23     Q. She said we have done that,               23         And regardless of a color, every
 24 verified that we have the hoverboards matching   24 hoverboard supplied by Interworks to QVC
 25 the specs in testing for T34764?                 25 through you would bear the same SKU number?
                                             Page 102                                               Page 104
 1        A. That's what I told you before.              1       A. No. No.
 2        Q. What is T34764?                             2       Q. Okay.
 3        A. That's the item number that QVC             3       A. This was the number that they
 4   assigned to the Interworks board.                   4   assigned to this submission to this board from
 5        Q. Is that the same as the SKU                 5   Interworks.
 6   number?                                             6       Q. Okay.
 7        A. No.                                         7       A. There might be other submissions.
 8        Q. Item number?                                8   There might be other bundles. Every item they
 9        A. Um-hmm.                                     9   could have submitted a series of items, they
10        Q. From that previous exhibit, the            10   could put it under a family of product, they
11   sample testing report, can you tell me where       11   create their own SKU number, it has nothing to
12   the report states -- not the SKU number, but       12   do with us.
13   the item number?                                   13       Q. So this SKU number came from
14        A. It says here T34604.                       14   Interworks?
15        Q. That's the SKU number, right, it           15       A. No.
16   has SKU on top?                                    16       Q. From QVC?
17        A. Yes.                                       17       A. Yes.
18        Q. To your understanding, SKU number          18       Q. QVC assigned this number to --
19   is the same as the item number that you were       19       A. To this sample.
20   referring to?                                      20       Q. Okay.
21        A. It should be.                              21           I'll move on after this question,
22        Q. Okay.                                      22   but you don't have any personal knowledge on
23            By looking at the SKU number, you         23   whether this number assigned by QVC is
24   would know what model of hoverboard --             24   applicable to any given product, for example,
25        A. No.                                        25   QVC would only assign one SKU number to a
                                             Page 103                                               Page 105

        EXHIBIT 10             H I N E S            R E P O R T E R S                        27 (102
                                                                                                 149 - 105)
        Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 33 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:934                       Deposition of Charles Tebele
  1 model supplied by Interworks, for example,        1 that QVC received from --
  2 Model C, am I correct on that understanding or    2     A. I don't know.
  3 let me give you a scenario, you can correct me    3     Q. Were these --
  4 if I'm wrong. If Interworks had carried more      4     A. These are the general dates of
  5 than one model, Model A, B, C then D, four        5 when they were evaluating it. I don't know
  6 different models of hoverboards, and              6 how they track what day they received it.
  7 Interworks was able to get all of these four      7     Q. Would be the last activity day?
  8 model numbers approved by QVC, QVC then would     8     A. No, that's the last activity day.
  9 assign four different SKU numbers?                9     Q. Okay, so it's before this date?
 10      A. Yes, that would be --                    10     A. Again, I refer to my earlier
 11      Q. Because there are four different         11 statement, I don't know how they track what
 12 models?                                          12 day they received them.
 13      A. That would be their practice.            13     Q. You see the vendor's name, vendor
 14      Q. For every different model QVC            14 name Digital Gadgets LLC?
 15 would assign one SKU number for                  15     A. Yes.
 16 identification?                                  16     Q. And vendor code, CX82-0000,
 17      A. They could assign multiple SKU           17 that's your company, right?
 18 numbers to one model, but they would assign      18     A. Um-hmm.
 19 one different SKU number for every single        19     Q. Okay.
 20 model.                                           20          Was there anything in this report
 21      Q. At least one?                            21 showing the product came from Interworks?
 22      A. At least one, that's what I mean.        22     A. Yeah, it says High Roller Self
 23      Q. Get that clear.                          23 Balancing Board right on the top. It didn't
 24      A. They can assign two or three or          24 come from Interworks. We submitted the sample
 25 four to the same board.                          25 from Interworks. It came from Digital
                                             Page 106                                               Page 108
 1      Q.      Okay.                                    1   Gadgets.
 2            Next one will be 15.                       2       Q. Right.
 3            (Tebele Exhibit 15, Document               3       A. We submitted an Interworks board.
 4        bearing Bates stamps Digital Gadgets 14        4       Q. At the time, was there any other
 5        through Digital Gadgets 18, marked for         5   company selling so-called High Roller Self
 6        identification.)                               6   Balancing Hoverboard?
 7        Q. 15 is another QVC sample QA                 7       A. No.
 8   report. As a matter of fact, this sample            8       Q. Was there any information
 9   report was produced by your company in this         9   presented on this report that says these
10   litigation. Have you ever seen this document       10   hoverboards were manufactured by the factory
11   before?                                            11   who work with Interworks at the time?
12        A. I might have seen it.                      12       A. I don't think that's something
13        Q. There are a few days mentioned             13   that they would catalog.
14   and printed on the first page, top portion of      14       Q. To your recollection or
15   this exhibit. You will see the pick due date       15   knowledge, personal knowledge, would QVC know
16   June 5, 2017, sample evaluation due date           16   about who manufactured the -- these
17   June 15, 2017, requested due date June 2,          17   hoverboards by looking at the product and the
18   2017, and further down to the left you see         18   SKU numbers?
19   last activity date and time, June 2, 2017.         19       A. If they wanted to determine who
20   These dates remind you when QVC received these     20   manufactured it, they could.
21   samples from your company; was it in June,         21       Q. When you -- again, when I said --
22   early June?                                        22   I was asking for your personal knowledge.
23        A. This sample was received on the            23   When your company submitted these samples for
24   dates that it says there.                          24   QVC for testing purpose, did you submit the
25        Q. Which date, would be the date              25   samples with the boxes or without the boxes?
                                             Page 107                                               Page 109

        EXHIBIT 10             H I N E S         R E P O R T E R S                           28 (106
                                                                                                 150 - 109)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 34 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:935                        Deposition of Charles Tebele
  1     A. We always have to submit it with           1     A. No. Take a look all the way in
  2 the boxes.                                        2 the middle section, the last line says
  3     Q. So QVC wants to take a look at             3 batteries included; you see that?
  4 what's printed on the box, QVC wouldn't know      4     Q. Yes.
  5 where the hoverboard came from?                   5     A. Go up three lines from that.
  6     A. Yes, other than what you said the          6     Q. Right. UL Model Smart C file
  7 description of the product.                       7 E483017?
  8     Q. Was there anything in this report          8     A. Yeah.
  9 saying that these hoverboards were                9     Q. And there's a UL adapter Model
 10 manufactured by Shenzhen Chic?                   10 SPS, then there is some numbers after that?
 11     A. I don't know what Shenzhen Chic           11     A. Right. It would be some tie
 12 has to do with it. You asked me about            12 back -- that's the Model C.
 13 Interworks.                                      13     Q. So you would say is that based on
 14     Q. Do you know Shenzhen Chic was             14 your personal knowledge that these numbers are
 15 manufacturing these hoverboards that were sold   15 somehow tied to Interworks product?
 16 to Digital Gadgets then sold to Digital          16     A. Yes, based on my personal
 17 gadgets?                                         17 knowledge.
 18     A. No, I don't know that.                    18     Q. Do you know which one?
 19     Q. Is there anything in this report          19     A. No, but it says Model C, it says
 20 mentioned -- mentioning that these hoverboards   20 Smart C, I would assume there is some
 21 came from Interworks?                            21 connection to Model C there.
 22     A. I don't know. I mean the report           22     Q. Okay.
 23 speaks for itself.                               23     A. Does that make sense to you?
 24     Q. Right.                                    24     Q. I don't know. I wish I knew.
 25         You know, if I tell you that             25 See, that's the beauty of being a lawyer, we
                                            Page 110                                              Page 112
 1   there's really nothing in this report showing      1   know nothing about what you are doing.
 2   that --                                            2        A. He knows a lot. He tells me he
 3       A. I'll take you at your word.                 3   does.
 4       Q. Would you agree with me on that?            4        Q. That's what's so great about
 5       A. Not really. I will tell you                 5   lawyers, you walk into different case, you
 6   where maybe there's some information that you      6   start all over again by learning what's
 7   haven't -- if you look at page 2 of 5 --           7   happening in that business.
 8       Q. 205?                                        8             Anything else that you can help
 9       A. 2 of 5.                                     9   me with that -- by looking at this report and
10       Q. Okay.                                      10   tell me which one could point to Interworks?
11       A. The fourth line down, it says              11        A. I think that QVC would have more
12   confirm items listing this correct and active,    12   information. I don't know what would be here.
13   UL Model Smart C file E 483, blah, blah, blah,    13        Q. To your recollection, does QVC
14   I would imagine that's the model tied to          14   still have these sample sitting in their
15   Interworks.                                       15   warehouse or their office?
16       Q. Well, hold on. We are talking              16        A. Sorry?
17   about page number --                              17        Q. With respect to these samples,
18       A. 2 out of 5.                                18   does QVC still have them?
19       Q. And then --                                19        A. You can't ask me that. You need
20       A. All the way to the bottom.                 20   to ask them. How would I know?
21       Q. All the way to the bottom?                 21        Q. You may know, but, you know, I'm
22       A. Fourth line down.                          22   just asking.
23       Q. Okay. The UL 1642 certificate              23        A. They are a big place. That's not
24   for the lithium battery sales required had not    24   me.
25   been received?                                    25             MR. HSU: This one is 16.
                                            Page 111                                              Page 113

        EXHIBIT 10            H I N E S         R E P O R T E R S                          29 (110
                                                                                               151 - 113)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 35 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:936         Deposition of Charles Tebele
 1           (Tebele Exhibit 16, Document                  1       Q. And discuss our partnership
 2       bearing Bates stamp Digital gadgets 35,           2   further?
 3       marked for identification.)                       3       A. Yep.
 4       Q. 16, there is a short e-mail on                 4       Q. So you did discuss, meaning your
 5   top from Eric Lu to Chris Mitchell in                 5   company, did discuss this exclusive agreement
 6   December, specifically on December 21, 2016.          6   with Eric Lu?
 7           It says "Chris, see my comments               7       A. Yes.
 8   below in red. I'll give you a call shortly."          8       Q. At the trade show, and what was
 9           In response to Chris Mitchell's               9   your recollection on Eric Lu's response or
10   e-mail to Eric Lu dated the same day earlier         10   anything that he said in Las Vegas -- when you
11   than that, well, yes, a little earlier than          11   met Eric Lu, did he agree to give that
12   3:04 a.m., was 9:26 a.m. in the morning, here        12   exclusive deal to you guys?
13   by the way, have you received this e-mail from       13       A. There was no doubt that he agreed
14   Chris Mitchell?                                      14   that as long as we had inventory in place that
15       A. Did I receive this e-mail from                15   we remained the exclusive partner. We would
16   Chris Mitchell?                                      16   never buy somebody else's goods for them to go
17       Q. Right.                                        17   sell them to the same customer behind our
18           Did he subsequently forward it to            18   back. The discussion further was we were
19   you?                                                 19   discussing other accounts to extend the
20       A. I don't remember.                             20   exclusive to.
21       Q. And says -- Chris Mitchell says               21       Q. Did you also at Las Vegas discuss
22   here "Eric" starting from the second paragraph       22   the payment terms such as consignment?
23   "current order QVC isn't going to be able to         23       A. It's possible.
24   resolve the lithium battery reissue until next       24       Q. But you don't remember sitting
25   month."                                              25   here?
                                               Page 114                                               Page 116
 1            Are you aware of such issue                  1       A. Again, there was a sequence of
 2   existing in December of 2016?                         2   events and a lot of conversations. I don't
 3        A. That's a different issue. That's              3   know what conversation was at CES versus on
 4   a different lithium battery issue than what we        4   the phone, but it was a fluid situation.
 5   are talking about with the QA.                        5             (Tebele Exhibit 17, Document
 6        Q. Right.                                        6       bearing Bates stamp Digital Gadgets 80,
 7            And you say is a different issue?            7       marked for identification.)
 8        A. It has nothing to do with the QA.             8       Q. Next one is 17. Have you ever
 9        Q. Okay.                                         9   seen this certificate of liability insurance?
10            And was this around the time when           10       A. Possibly.
11   Chris Mitchell was negotiating with Eric on          11       Q. You see towards the bottom left
12   the price terms along with the other terms for       12   underneath two words certificate, Digital
13   the sale of the hoverboards?                         13   Gadgets, LLC and that's your company, right?
14        A. It appears to be.                            14       A. Yes.
15        Q. And when Chris Mitchell                      15       Q. On top -- well, it's not very
16   mentioned -- you see down below like one, two,       16   top, it's like ninth or tenth or twelfth line
17   three, four, fourth bullet point, if you look        17   from the top, you see under the insured
18   at the second one?                                   18   Interworks Unlimited, Inc.?
19        A. Yep.                                         19       A. Yes.
20        Q. Received exclusive agreement to              20       Q. Was printed there, so the insured
21   supply chip listen board to QVC for 2017 and         21   of this policy was Interworks?
22   then Eric's comment is yes, we can put this          22       A. Yes.
23   agreement to you, but let's have our meetings        23       Q. And your company was made as an
24   and see it and that's the trade show, right?         24   additional insured?
25        A. Yes.                                         25       A. Yes.
                                               Page 115                                               Page 117

        EXHIBIT 10              H I N E S         R E P O R T E R S                            30 (114
                                                                                                   152 - 117)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 36 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:937                        Deposition of Charles Tebele
  1     Q. On this certificate?                       1      Q. You don't recall that?
  2     A. Yes.                                       2      A. But this is dated 5/9 and the
  3     Q. Right?                                     3 letter from Tom Carulli is dated 5/19, I
  4         MR. LAZARUS: Yes.                         4 think, so around that time there was drama.
  5     A. Yes. It says that I'm named as             5      Q. Let me ask you: If you had
  6 additional insured in the middle of the page      6 known -- would there be a difference for
  7 2, third down, certificate of holder's name as    7 Interworks to maintain its policy that cover
  8 additional insured with respect to products as    8 all the hoverboards that is sold to your
  9 the named insured as their interest may           9 company versus your company had to be listed
 10 appear, then it says in big bold letters, no     10 as additional insured on the policy?
 11 coverage extended to hoverboards.                11      A. It's both.
 12     Q. Right, it does say that.                  12      Q. Does QVC require that your
 13         Do you recall seeing this                13 company carry and maintain liability
 14 document any time in 2017?                       14 insurance?
 15     A. Yes.                                      15      A. Yes. Products are what dictates
 16     Q. Around the time of May 9th, like          16 the insurance.
 17 the date?                                        17      Q. Right.
 18     A. I don't know the dates                    18      A. So even though I'm required to
 19 specifically, but there was a time when we       19 maintain a general amount of insurance by QVC,
 20 were made aware there was no coverage, so this 20 subset of that, if there are specific products
 21 may be around that time.                         21 that they require different insurers
 22     Q. When you say there is no                  22 requirements, higher or different or some kind
 23 coverage, you meant on this certificate          23 of -- maybe they have an added risk, they
 24 Digital Gadgets was somehow excluded because     24 would require an extra layer of protection and
 25 the coverage was not made to extend to           25 I believe the hoverboards are one of those
                                            Page 118                                                  Page 120
 1   hoverboards?                                       1   products.
 2        A. No, Digital Gadgets wasn't                 2       Q. Okay.
 3   excluded. Digital Gadgets is a certificate         3            For the sake of discussion, if
 4   holder.                                            4   you had given Interworks' certificate of
 5        Q. Right and then --                          5   insurance to QVC, would they accept it,
 6        A. The exclusion was hoverboards.             6   because they might have realized that while
 7   The only thing we bought from Interworks were      7   these goods were initially supplied by
 8   hoverboards.                                       8   Interworks --
 9        Q. Do you know at the time                    9       A. Say that again.
10   Interworks had other insurance coverage?          10       Q. At the time or around the time
11        A. I wouldn't know what Interworks           11   where your company received this notice that
12   had, but this certificate is the certificate      12   there is no coverage extended to hoverboards,
13   that we would rely upon or certificates other     13   and you raised that issue to Interworks,
14   than this like you produced to have me, then      14   correct?
15   look at and ask me if I have seen, if you got     15       A. I'm certain someone raised the
16   a certificate and you bought hoverboards from     16   issue to Interworks, because it's on the
17   a company and they gave you a certificate and     17   letter from Tom Carulli.
18   it says here is your insurance, Mister, but it    18       Q. Right.
19   doesn't apply to hoverboards, that would cause    19            Around the time when this became
20   concern.                                          20   an issue, did you ask for Interworks to
21        Q. You had concern, and after that I         21   forward their liability insurance to your
22   think you don't remember if your company had      22   company so you guys can use that to satisfy
23   to go out and purchase your own policy until      23   QV's requirement?
24   after you received this?                          24       A. I don't know.
25        A. Correct.                                  25       Q. Do you know at the time, right
                                            Page 119                                                  Page 121

        EXHIBIT 10            H I N E S         R E P O R T E R S                              31 (118
                                                                                                   153 - 121)
      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 37 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:938         Deposition of Charles Tebele
 1   around that time May 2017 Interworks had              1      A.     Yes.
 2   continuously maintained its liability                 2      Q.     Particular discovery by QVC?
 3   insurance?                                            3      A.     Yes.
 4       A. I don't know.                                  4      Q.     Okay.
 5       Q. Now, you wouldn't know either if               5            Can you tell me what that is?
 6   you had asked for it and Digital Gadgets did          6       A. There were -- there was a general
 7   provide that to you would QVC okay on that            7   fear in the marketplace around lithium ion
 8   policy of Interworks?                                 8   batteries in general, not to do anything with
 9       A. What's the question?                           9   hoverboards, having to do with hoverboards,
10       Q. Let me give you a hypothetical.               10   but a greater issue, whereby there were
11   Could be a hypothetical, because you don't           11   lithium ion batteries exploding on planes.
12   have any personal knowledge.                         12       Q. Okay.
13             Based on the ordinary course of            13       A. And QVC determined that since
14   business, custom and practice adopted in your        14   there was a Christmas rush, at a certain date
15   company, if Eric Lu had forwarded their              15   they stopped selling many items that had heavy
16   liability insurance coverage that says               16   lithium ion batteries in total. They just
17   Interworks only, if you had forwarded that           17   froze all the items and would not turn them
18   coverage to QVC asking them to approve it,           18   back on until they were assured that people
19   because you are actually selling to QVC --           19   wouldn't ship them on planes. So that means
20       A. We would need to provide them our             20   if UPS -- if you ordered one and said I need
21   own policy. We would need to be an additional        21   it overnight, they were worried that we were
22   insured by the vendor or hold the insurance          22   gonna put it on an UPS truck or another vendor
23   ourselves.                                           23   would put it on an UPS truck, it would explode
24       Q. Okay.                                         24   and QVC would have the liability because it
25       A. That's my understanding of how it             25   was their UPS account number.
                                               Page 122                                               Page 124
 1   works.                                                1        Q. Got it.
 2        Q. Okay, that's your understanding               2        A. So they froze all of this plus
 3   of how it works at QVC?                               3   many, many other items from being sold and by
 4        A. Yes.                                          4   January 20th, we were able to prove to them
 5            (Tebele Exhibit 18, Document                 5   that we had sufficient checks and balances to
 6        bearing bates stamp Digital Gadgets 81           6   make sure that they only go by ground and not
 7        through Digital Gadgets 82, marked for           7   air.
 8        identification.)                                 8        Q. Not by air.
 9        Q. 18 starting from the top shows an             9        A. And then they turned the unit
10   e-mail from Chris Mitchell to Eric and the           10   back on.
11   subject was Chic, C-H-I-C, 2017 plus Digital         11        Q. Okay.
12   Gadgets. Have you ever seen this e-mail?             12             So basically because of that
13        A. I don't know.                                13   issue, there was no overnight delivery by
14        Q. When you see the -- well, there              14   anybody.
15   are about six bullet points. You see the             15        A. Right.
16   first bullet point approaching the midsection        16             (Tebele Exhibit 19, Document
17   of the page, met with QVC today and they are         17        bearing Bates stamp Digital Gadgets 264,
18   finally able to turn high roller boards back         18        marked for identification.)
19   on?                                                  19        Q. This 19 is another certificate of
20        A. Yes.                                         20   liability insurance that lists Digital Gadgets
21        Q. They figured out the lithium                 21   as a certificate holder. The date of this
22   battery issue with their legal team?                 22   certificate was December 8, 2016; have you
23        A. Yes.                                         23   seen this document before?
24        Q. Do you know what was going on                24        A. Possibly.
25   with respect to this?                                25        Q. Do you know if Digital Gadgets
                                               Page 123                                               Page 125

        EXHIBIT 10              H I N E S            R E P O R T E R S                         32 (122
                                                                                                   154 - 125)
       Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 38 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:939                          Deposition of Charles Tebele
  1 submitted this certificate to QVC around the      1 approved from my factor."
  2 time Digital Gadgets received this from           2          Did Eric Lu write all of these
  3 Interworks?                                       3 responses in bold printed form?
  4     A. What's the question again?                 4     A. I don't know, looks like it.
  5     Q. Do you know if Digital Gadgets             5     Q. And here he was complaining to
  6 ever submitted this certificate of liability      6 you guys that if you had been approved by my
  7 insurance to QVC ever?                            7 vendor, I would have given this consignment
  8     A. I don't know.                              8 backup agreement to you guys at the time this
  9         (Tebele Exhibit 20, Document              9 e-mail was sent to them, to Eric Lu, to your
 10     bearing Bates stamps Digital Gadgets 244     10 recollection, Interworks' factor never
 11     through Digital Gadgets 247, marked for      11 approved your company on this credit line of
 12     identification.)                             12 $1 million, right?
 13     Q. 20 has a number of pages.                 13     A. I have no idea. It looks to be
 14         These documents were produced by         14 he shipped it, bought approval from his factor
 15 Digital Gadgets.                                 15 and maybe he was in trouble or something. I
 16         If you see the second e-mail from        16 don't know what -- I don't know what -- I
 17 the top on Digital Gadgets 244, this e-mail      17 don't know what the inner workings between him
 18 was sent by Chris Mitchell to Eric, presumably   18 and his factor are, but we don't have any
 19 Eric Lu, and you were cc'd on it. Do you see     19 obligation as Digital Gadgets to satisfy his
 20 that?                                            20 factor. His factor relationship is between
 21     A. Yep.                                      21 him and his factor.
 22     Q. And Chris Mitchell first said             22     Q. If you look down below,
 23 "Eric understood about wanting the boards        23 there's -- it seems like there is a
 24 back. We were honoring the consignment backup    24 spreadsheet prepared by Chris Mitchell to
 25 agreement per our conversation. But if that's    25 Eric Lu. If you can help me go over the
                                             Page 126                                                 Page 128
 1   no longer an option for you, we can send back       1   second page of the document, where you can see
 2   the remaining boards."                              2   not this page, can you just briefly go to a
 3            What is the consignment backup             3   second page?
 4   agreement Chris Mitchell was talking about          4        A. Yes.
 5   here, if you know?                                  5        Q. Second page on top to the right,
 6        A. Basically, that there were,                 6   you see the total received number is 10,608
 7   throughout the negotiations, like I said, it        7   units?
 8   was fluid and what they agreed to was rather        8        A. Yes.
 9   than shipping the boards back and forth             9        Q. Is that consistent with your
10   between Interworks and Digital Gadgets and         10   recollection of how many units of
11   having them sit in one warehouse or another,       11   hoverboards --
12   since they were only for QVC that we would pay     12        A. I previously answered I'm not
13   them based on when they were sold. So that's,      13   sure how many hoverboards were received, but
14   I mean, call it a consignment agreement, but       14   if this e-mail states -- the e-mail stands on
15   it's not a very technical term. Consignment        15   its own. The statement is what it is.
16   agreement would basically mean to me we would      16        Q. Okay.
17   pay for the goods per specific agreement as        17            But you mention about computer
18   they were sold.                                    18   data and software. If you have to retrieve
19        Q. Okay.                                      19   this information or spreadsheet from your
20            And then the -- see there's some          20   computer you would be able to do that, right?
21   bold printed lines or words starting from an       21        A. Yes.
22   arrow pointing to the left, "I have honored        22        Q. After you received these e-mails
23   everything" that -- "everything I've said. I       23   from Chris Mitchell and Eric Lu, did you
24   told you guys I would give you                     24   remember -- did you remember you had a meeting
25   terms/consignment if you guys would get            25   or a couple of meetings with Chris Mitchell?
                                             Page 127                                                 Page 129

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Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:940         Deposition of Charles Tebele
 1       A. Yes.                                          1   market conditions. It's not a strategy to
 2       Q. And do you remember what was                  2   renegotiate. We work with our vendors in
 3   being discussed about issues being raised by         3   partnership to maximize sales based on the
 4   these two, three e-mails between Chris               4   market conditions.
 5   Mitchell and Eric Lu, if anything?                   5       Q. You understand this term
 6       A. Do I remember?                                6   consignment, right?
 7       Q. Do you remember the significance              7       A. Yes.
 8   or the important part of the conversation that       8       Q. And ordinarily when -- in a
 9   you had with Chris Mitchell?                         9   consignment situation the seller retains title
10       A. I'm sure it was everything that's            10   to the goods and the buyer doesn't have it
11   outlined in this e-mail.                            11   until the goods are sold and the title passed
12       Q. When this e-mail was sent early              12   to the buyer and then to the ultimate end user
13   March 2017, the battery issues with QVC had         13   or ultimate buyer?
14   not occurred yet?                                   14       A. From a legal standpoint that may
15       A. I don't know when exactly it                 15   be the definition.
16   started occurring, but it doesn't appear to be      16       Q. Right.
17   an issue because it's not mentioned in this         17            And what's your understanding of
18   e-mail.                                             18   that term in the business world?
19       Q. Right.                                       19       A. From a practical standpoint to us
20            It was not mentioned throughout            20   means we pay as we sell them. Who holds title
21   these e-mails, so would that be correct to          21   is a separate and maybe legal type of
22   say --                                              22   agreement around title, which would be
23       A. Would be a reasonable assumption.            23   clarified by title, but if they were invoices,
24       Q. Okay.                                        24   then they wouldn't be invoiced to us, so if
25            Did you ask Chris Mitchell to go           25   they were invoiced to us, then title to us,
                                              Page 130                                                Page 132
 1   back to Eric Lu to further negotiate on the          1   meaning Digital Gadgets, that means title
 2   price after March 3, 2017?                           2   passed to Digital Gadgets. If there was a
 3       A. I don't recall anything specific              3   consignment agreement for title, that would be
 4   on the price. I think that these negotiations        4   a legal description of consignment. The
 5   have multiple components and price being one         5   business description of consignment which kind
 6   of them, but I don't know -- I don't know if         6   of means we pay when we sell.
 7   this specific direction was to negotiate on          7        Q. You pay when you sell and then
 8   price, but all in all we would have to get           8   when you are unable to sell, you would be able
 9   terms and conditions satisfactory for us to          9   to return them to the seller?
10   move forward.                                       10        A. It would be all covered under
11       Q. Okay.                                        11   whatever the agreement would be. Some vendors
12            You do recall that we had gone             12   tell us to throw them away, some vendors tell
13   through a proposal, at least one proposal made      13   them to give them back.
14   by Chris Mitchell to Eric Lu about taking           14              MR. HSU: Just pretty much gone
15   50 percent of inventory at one price; will you      15        through what I wanted to talk about
16   consider that would be an attempt to negotiate      16        today. Let me just -- let's get off the
17   price with Interworks on the part of Digital        17        record. I wanna make sure I have
18   Gadgets?                                            18        everything that I want to cover today.
19       A. No.                                          19              (Recess taken.)
20       Q. Will you consider that was a                 20              MR. HSU: During the recess, I
21   business strategy adopted by Digital Gadgets        21        have discussed with Mr. Lazarus, it's a
22   because Digital Gadgets was unable to sell the      22        little hard to pronounce your name, I'll
23   remaining inventory which at the time was           23        do my best to try to do it correctly
24   about 5,000 plus?                                   24        next time, Mr. Lazarus, and I discussed
25       A. No, it was probably dictated by              25        and agree that the stipulation that I
                                              Page 131                                                Page 133

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      Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 40 of 108 Page ID
Interworks Unlimited, Inc. vs. Digital Gadgets, LL#:941         Deposition of Charles Tebele
 1      made with Mr. Louzon yesterday will be                                           136
 2      also applicable 100 percent to today's             1
 3                                                         2               INDEX
        deposition transcript. You want me to
 4                                                         3   Examinations                    Page
        recite the terms, everything?                          Mr. Hsu                       5
 5                                                         4
              MR. LOUZON: No.                                            EXHIBITS
 6                                                         5   No.      Description            Page
              MR. HSU: I have recited every
 7                                                         6    1 Second Amended Notice of Taking        34
        little and big term of the stipulation                    Deposition of Charlie Tebele
 8                                                         7    2 Second Amended Notice of Taking        34
        to Mr. Lazarus and he agreed that he                      Deposition of
                                                           8      Defendant/Counterclaimant Digital
 9      will stipulate to the proposed handling            9      Gadgets, LLC
10      of the deposition transcript as I                       3 Document bearing Bates stamp          38
                                                          10      Interworks 7
11      stipulated with Mr. Louzon yesterday.                   4 Document bearing Bates stamp          48
                                                          11      Interworks 8
12            So stipulated?                                    5 Document bearing Bates stamp          49
                                                          12      Interworks 22
13                                                              6 Document bearing Bates stamps         57
              MR. LAZARUS: Yes.                           13      Interworks 42 through Interworks 54
                                                                7 Document bearing Bates stamp          68
14            MR. HSU: We are done.                       14      Interworks 88
                                                                8 Document bearing Bates stamps         83
15            (Time noted: 1:57 p.m.)                     15      Interworks 212 through Interworks
                                                                  221
16
                                                          16    9 Document bearing Bates stamp          91
                                                                 Interworks 299
17
                                                          17   10 Document bearing Bates stamp           92
                                                                 Interworks 300
18                                                        18   11 Document bearing Bates stamp           92
                                                                 Interworks 301
19                                                        19   12 Document bearing Bates stamp           98
                                                                 Interworks 405
20                                                        20   13 Document bearing Bates stamp          100
                                                                 Interworks 399
21                                                        21   14 Document bearing Bates stamp          101
                                                                 Digital Gadgets 154
22                                                        22   15 Document bearing Bates stamps         107
                                                                 Digital Gadgets 14 through Digital
23                                                        23     Gadgets 18
                                                               16 Document bearing Bates stamp          114
24                                                        24     Digital gadgets 35
                                                               17 Document bearing Bates stamp          117
25                                                        25     Digital Gadgets 80
                                               Page 134
 1         ACKNOWLEDGMENT                                                                137
 2                                                         1
 3                                                         2   18 Document bearing Bates stamp
     STATE OF NEW YORK )                                         Digital Gadgets 81 through Digital 123
 4            :ss                                          3     Gadgets 82
     COUNTY OF     )                                           19 Document bearing Bates stamp        125
 5                                                         4     Digital Gadgets 264
                                                           5   20 Document bearing Bates stamps       126
 6           I, CHARLES TEBELE, hereby certify                   Digital Gadgets 244 through Digital
                                                           6     Gadgets 247
 7   that I have read the transcript of my
                                                           7          INFORMATION REQUESTED
 8   testimony taken under oath in my deposition of                       Page
                                                           8
 9   August 21, 2018, that the transcript is a             9         INFORMATION TO BE FURNISHED
10   true, complete and correct record of my                             Page
                                                          10
11   testimony, and that the answers on the record        11
12   as given by me are true and correct.                 12
13
                                                          13
14
                                                          14
15               ______________________                   15
16                  CHARLES TEBELE                        16
17
                                                          17
18                                                        18
19                                                        19
20   Signed and subscribed to before
     me, this        day                                  20
21   of             , 2018.                               21
22   ________________________________
     Notary Public, State of New York                     22
23                                                        23
24                                                        24
25                                                        25
                                               Page 135

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Interworks Unlimited, Inc. vs. Digital Gadgets, LLC             Deposition of Charles Tebele
 1            CERTIFICATE
 2   STATE OF NEW YORK )
               ) ss.:
 3   COUNTY OF SUFFOLK )
 4
 5         I, CINDY A. AFANADOR, a Notary
 6     Public within and for the State of
 7     New York, do hereby certify:
 8           That CHARLES TEBELE, the witness
 9     whose deposition is hereinbefore set
10     forth, was duly sworn by me and that such
11     deposition is a true record of the
12     testimony given by such witness.
13           I further certify that I am not
14     related to any of the parties to this
15     action by blood or marriage; and that I
16     am in no way interested in the outcome
17     of this matter.
18           IN WITNESS WHEREOF, I have
19     hereunto set my hand this 27th day of
20     August, 2018.
21
22            -------------------------
23               CINDY A. AFANADOR
24
25
                                            Page 138




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                                          #:951

Jared Louzon

From:                Chris Mitchell
Sent:                Monday, May 15, 2017 11:50 AM
To:                  Eric@interworks-usa.com
Cc:                  tony@interworks-usa.com
Subject:             Fwd: High Roller Model C Lithium Form- QVC QA sample required
Attachments:         image001.png; ATT00001.htm; image001.png; ATT00002.htm; UL-1642-NofA-13CA52863-
                     Dec-06-2013.pdf; ATT00003.htm; BC mark SHES161000905901.pdf; ATT00004.htm; UL certificate
                     (1).pdf; ATT00005.htm; Lithium Battery Form_High Roller Model C.XLSX; ATT00006.htm


Hey guys, see below. As I mentioned we need to submit a new QA and now they are treating this as a new submission
given the issues with the docs you sent over previously...

Disaster.

Do you have all this at the ready with a clean sample you can send us to confirm it matches these forms you provide?

Thank you,
Chris


Begin forwarded message:

        From: Paulette Brown <pbrown@digitalgadgets.com>
        Date: May 15, 2017 at 11:36:10 PM GMT+8
        To: Chris Mitchell <cmitchell@techpointproducts.com>
        Cc: Jill Pierson <jpierson@digitalgadgets.com>, Gillian Yip ELF <gyip@elfwarehouse.com>, Charlie Tebele
        <CHARLIE@digitalgadgets.com>
        Subject: FW: High Roller Model C Lithium Form‐ QVC QA sample required

        Hi Chris

        Below email from Rafiq outlines what we are required to submit with the new live sample we are
        preparing to send out

        Please send us back a clean email with feedback and attachments that should be sent with the sample

        (I’ve attached all of the forms that Jill has on file for the item‐ so please confirm these are good or supply
        updated)

        Thanks much
        Paulette


        From: Rafiq Zabrani [mailto:Rafiq.Zabrani@qvc.com]
        Sent: Monday, May 15, 2017 10:58 AM
        To: Cheryl Baiocchi <Cheryl.Baiocchi@qvc.com>; Paulette Brown <pbrown@digitalgadgets.com>;
        Gabrielle Ceritano <Gabrielle.Ceritano@qvc.com>; Dennis Dangelo <dennis@raecs.com>; Jill Pierson
        <jpierson@digitalgadgets.com>; John R. Teter <John.R.Teter@qvc.com>; Mark Shaeffer

                                                              1
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                           <Mark.R.Shaeffer@qvc.com>
                                     #:952
Cc: Meghan Kane <Meghan.Kane@qvc.com>; Mark Shaeffer <Mark.R.Shaeffer@qvc.com>
Subject: RE: T35011 new sample needed

Paulette,

The original unit had too many complications with paper work, unit model was changed at last minutes
and too many non‐related documents sent to QA. Much of the information we have seen for this new
unit does not match with the old unit. So we can no longer call this similar to last unit from QA’s
perspective.
Please treat this hoverboard as a brand new unit to QA. Below are the QA requirements for hoverboard.



       Current hoverboard requirements are:
            o UL2272 listed hoverboard with complete UL report. Hoverboards only listed directly by
                UL will be accepted by QVC. Must have UL Holographic logo.
            o UL Listed battery charger (we will need UL file number information for battery charger).
            o UL listed lithium battery (we will need UL file number information for lithium battery).
            o UN for 38.3 (we will need UN38.3 report for lithium battery).
            o Lithium battery form.
            o Battery disposal instructions in manual.
            o If age graded, appropriate toy or children product testing.
            o Must have third party testing for weight claim.
            o All testing related to claims including, run time, travel distance, charging time etc.
            o Any claims of additional product safety must accompany a third party design review to
                be mentioned on air after QA verification.



From: Jill Pierson
Sent: Friday, May 12, 2017 5:30 PM
To: Paulette Brown <pbrown@digitalgadgets.com>; Chris Mitchell <cmitchell@techpointproducts.com>;
Gillian Yip ELF <gyip@elfwarehouse.com>
Cc: Charlie Tebele <CHARLIE@digitalgadgets.com>
Subject: RE: High Roller Model C Lithium Form‐ QVC QA sample required

Chris,
Please see the attached documents that I have from previous emails. Please review and verify with the
vendor.

Regards,

Jill Pierson




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                                            #:954

Jared Louzon

From:                Chris Mitchell
Sent:                Wednesday, June 07, 2017 4:42 PM
To:                  Eric
Subject:             RE: Digital Gadget.xlsx
Attachments:         QVC_QA_Eval_Report_T35011_011_000_6152017-1_OF_1.html


Eric,

That’s like saying b/c QVC ordered a 16GB iPad and we shipped an 8GB iPad, that they should be mad at Apple…maybe
Chic did screw you, I don’t know. But you’re the seller, we’re the customer and as such, have / had an expectation of
specifications of the ordered products being met…Clearly the docs we submitted that you provided to us weren’t the
documents you sent to QVC as they kept saying that they didn’t match. Here’s the QVC QA report when we actually sent
in a physical unit b/c after so much back & forth with the docs, they required it – one of the fail points is that even the
Poly Bag isn’t the right thickness! Unreal.

What about the insurance? What’s the update?

Best,
Chris



From: Eric [mailto:Eric@interworks‐usa.com]
Sent: Tuesday, June 06, 2017 6:21 PM
To: Chris Mitchell <cmitchell@techpointproducts.com>
Subject: RE: Digital Gadget.xlsx

Chris,

This is a CHIC issue…all QA submission for QVC are provided from CHIC to interworks…we are not the manufacture. So
the best thing to do is get all the boards back and return back to CHIC. I will issue an RA tomorrow. I could only provide
you with the documents that I have which are provided from CHIC…and those are the documents that I provided to you,
and what they’ve gave me is also what I have provided to QVC the first time around. If there’s QA submission issues
please send me the reports and I can have CHIC provide the documents to me.

I think its best to again return the goods and if you want to continue with Hoverboards then we order a new batch of
products and start from scratch. Why and how the packaging has changed, that’s above and beyond me.

I don’t think we need to have further relationship if Charlie is resourcing to the lawyer…as I am trying to clean up the
issue CHIC has caused…tell him to sue CHIC.

Eric




From: Chris Mitchell [mailto:cmitchell@techpointproducts.com]
Sent: Tuesday, June 06, 2017 2:54 PM
To: Eric <Eric@interworks‐usa.com>
Subject: RE: Digital Gadget.xlsx
                                                             1
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Hey Eric,

I just got killed. Had a convo with Charlie and then he got our lawyer.

I can’t do anything until I get this QA and Insurance issues fixed. We don’t have insurance on the boards and now there
is a litany of QA issues given that the board we got from our CA warehouse (that you sent us) and was sent into QVC b/c
you couldn’t get us the right QA docs, don’t match the first QA submission. They opened it all up and NONE of it
matches with what you guys sent originally. Not only is the battery different, but the physical Age Grade of the Product
is different too! This says 12+ but QVC is saying you were originally instructed to say 14+…12+ requires kids
testing…disaster.

We have formally opened an investigation at our CA warehouse to audit the boards we have on‐hand and do an
inventory against what QVC says should be the right boards. This is assuming we can maintain our relationship with QVC
and not get charged back for all the boards already sold b/c who the hell knows what we’ve actually been selling.

Not going to be able to get on a call tonight.

Please advise about the COI that you were supposed to get as of 5/26 and how you advise we fix this QA issue.

Regards,
Chris




From: Eric [mailto:Eric@interworks‐usa.com]
Sent: Monday, June 05, 2017 7:59 PM
To: Chris Mitchell <cmitchell@techpointproducts.com>
Subject: FW: Digital Gadget.xlsx

Chris,

Please see attached balance owe…I need to finalize this balance tomorrow, whether you wants the Models C or I need
to pick them up and move them elsewhere…then we just reconcile everything that you’ve sold.

Thanks!

Eric




From: Priscilla Murillo [mailto:priscilla@interworks‐usa.com]
Sent: Monday, June 05, 2017 3:23 PM
To: eric@interworks‐usa.com
Subject: Digital Gadget.xlsx




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Jared Louzon

From:                    Eric Lu <eric@interworks-usa.com>
Sent:                    Wednesday, March 01, 2017 3:06 PM
To:                      Bright Asamoah
Cc:                      Charlie Tebele; Priscilla Murillo; Chris Mitchell; Michael Kidakarn
Subject:                 Re: Invoices past due


Bright / Charlie,

I gave you guys 60days on the lower cost which I have to carry the AR and if you're going to paid 99k, that is not
acceptable, I could have sold those inventory to other accounts. Janet had requested that I work with you guy and in
good faith, I gave you QVC and Zullilly...I have tried to work with you guys, but I feel like I'm getting the short end of the
stick...

Please ship all goods back to me...as I cannot tie up my funds and wait for weekly reports/payments.

I need to know how many units you have now and I will have my team schedule the pick up immediately.

Eric

Sent from my iPhone

On Mar 1, 2017, at 11:19 AM, Bright Asamoah <basamoah@elfwarehouse.com> wrote:

        Priscilla/Eric

        Below is a break of what is being paid today.


        <image007.png>

        Of the 3,187 units from the first batch, DG paid 3,000units – which will be left with 187unis to be paid.

        However, we did get some returns from the sales of 77units.

        So far, DG has sold 3,678units of the inventory.

        <image008.png>


        Please note…we will be sending a weekly sales report and a corresponding wire for the units sold
        starting next week….




        From: Eric Lu [mailto:eric@interworks-usa.com]
        Sent: Wednesday, March 01, 2017 4:06 AM
        To: 'Charlie Tebele'; 'Priscilla Murillo'; Bright Asamoah
        Subject: RE: Invoices past due

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QUEST - QVC QA Sample Evaluation Report                                                  12/9/18, 3)21 PM
                                                #:966

                              QVC            QA Sample                         Evaluation                        Report
   Tracking Number:                   SKU:                                   Description:
   201705010636                       T35011 011-000                         High Roller Self Balancing Hoverboard with
   Templated Item:                    Submission Number:                     Color/Size Desc:
   Yes                                4                                      Blue NA
   Current Location:                  Sample Type Desc:                      Drop Ship Ind:                              MultiBox:
   Trash                              Documentation                                                                      No
   Sample Evaluator:                  Pit Due Date:                          Sample Eval Due Date:                       Requested Due Date:
   John R Teter                       05/01/2017                             05/01/2017                                  05/01/2017
   Buyer Code:                        Buyer Name:                            Country of Origin:                          Disposition:
   121                                MEGHAN KANE                            Not Available                               REJECT
   Vendor Code:                       Vendor Name:                                                                       Vendor Part Nbr:
   CX82-0000                          DIGITAL GADGETS LLC                                                                HR
   Last Activity Date/Time:                                                  Record Last Updated By:
   05/08/2017 01:58:48 PM                                                    John R Teter
   Sample Needed by Product Central:                                         Ship Method:                                Post QA Disposition:
   No                                                                        Not Available                               Not Applicable
   Buyer Comments:
   Updated Lithium form

  SKN-Level Descriptive Product Information
   PackSlip Description: (SKN-Level Descriptive Product Information)                                                      Subtitle:
   High Roller Self Balancing Hoverboard with                                                                             Carrying Bag
   Dubner/Product Box:
   High Roller                            Self Balancing                          Hoverboard                              with
   Enterprise Long Description:
   The High Roller portable transportation solution is ideal for getting around the park, campus and even the office. Easy and safe to use. Charging time: 2-
   3hours. No overcharging. Max speed: 5MPH. Weight Capacity: 220lbs. Range: 6-8 miles. Battery: Lithium ion. Measures approx: 7"H x 23-1/2"W x 7-
   1/2"L. Weight: 23lbs. UL Listed. Color choice. LMW. Ages 14+. Includes hover board carrying bag. Imported.

  Test
   Test Result     Test Description                               Test Comments
   FAIL            4 General Electrical Requirements Test         5/8/17 JT - Battery form submitted 5/1 notes a battery part# and UL file# different from a
                                                                  previous model, therefore, it cannot be used as a "transfer". Document on "hold" until more
                                                                  details are provided. **UPDATE** 5/8/17 JT - new document submitted. This form is
                                                                  voided.
   NA              Sample Evaluator                               Processed by John Teter. (484) 701-8441. EMAIL: jteter@qvc.com

  Samples for this Item
   Tracking Number                     SKU                           Current Location                                      Sample Type Desc
   201705080374                        T35011 011 000                Documents received into QA                            Documentation




file:///Users/jaredlouzon/Downloads/5-8-17%20-%20QVC_QA_Eval_Report_T35011_011_000_512017-1_OF_1.HTML                                                    Page 1 of 1


                 EXHIBIT 19                                                   223
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                                   #:967




                  EXHIBIT 20
QUEST - QVC QA Sample Evaluation Report
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                                                     #:968
                               QVC QA Sample Evaluation Report
   Tracking Number:                           SKU:                              Description:
   201706020066                               T35011 011-000                    High Roller Self Balancing Hoverboard with
   Templated Item:                            Submission Number:                Color/Size Desc:
   Yes                                        5                                 Blue NA
   Current Location:                          Sample Type Desc:                 Drop Ship Ind:                       MultiBox:
   Michael Zelinski's desk                    QVC Product Sample                N                                    No
   Sample Evaluator:                          Pit Due Date:                     Sample Eval Due Date:                Requested Due Date:
   Mike Zelinski                              06/05/2017                        06/15/2017                           06/02/2017
   Buyer Code:                                Buyer Name:                       Country of Origin:                   Disposition:
   121                                        MEGHAN KANE                       CHINA                                REJECT
   Vendor Code:                               Vendor Name:                                                           Vendor Part Nbr:
   CX82-0000                                  DIGITAL GADGETS LLC                                                    HR
   Last Activity Date/Time:                                                     Record Last Updated By:
   06/02/2017 03:56:37 PM                                                       Mike Zelinski
   Sample Needed by Product Central:                                            Ship Method:                         Post QA Disposition:
   No                                                                           Not Available                        Product Central
   Buyer Comments:
   Please refer to Rafiq for testing requirements

   SKN-Level Descriptive Product Information
   PackSlip Description: (SKN-Level Descriptive Product Information)                                             Subtitle:
   High Roller Self Balancing Hoverboard with                                                                    Carrying Bag
   Dubner/Product Box:
   High Roller                            Self Balancing                       Hoverboard                        with
   Enterprise Long Description:
   The High Roller portable transportation solution is ideal for getting around the park, campus and even the office. Easy and safe to
   use. Charging time: 2-3hours. No overcharging. Max speed: 5MPH. Weight Capacity: 220lbs. Range: 6-8 miles. Battery: Lithium ion.
   Measures approx: 7"H x 23-1/2"W x 7-1/2"L. Weight: 23lbs. UL Listed. Color choice. LMW. Ages 14+. Includes hover board carrying
   bag. Imported.

   Test
    Test Result        Test Description                            Test Comments
    PASS               *Vendor Risk Level                          This vendor has not been assigned a risk level.
    PASS               1 Descriptive Product Information           The QVC Packslip, Dubner/Product Box and Long Descriptions were reviewed,
                                                                   edited and released by QA for QVC Merchant approval. QVC MERCHANT:
                                                                   Please review and approve in IBM (POMS) or notify QA of any needed
                                                                   changes. VENDOR: Any goods shipped to QVC Distribution Centers (or directly
                                                                   to customers in the case of drop-shipped merchandise) must match the QVC
                                                                   Long Description. If there are ANY discrepancies or changes, advise QVC QA
                                                                   before shipping goods.
                                                                   SKN : T35011 PACK SLIP: High Roller Self Balancing Hoverboard with_____
                                                                   SUBTITLE : Carrying Bag___ DUBNER: High Roller____ Self Balancing_
                                                                   Hoverboard_____ with___________ LONG DESCRIPTION The High Roller
                                                                   portable transportation solution is ideal for getting_ around the park, campus
                                                                   and even the office. Easy and safe to use.____ Charging time: 2-3hours. No
                                                                   overcharging. Max speed: 5MPH. Weight_____ Capacity: 220lbs. Range: 6-8
                                                                   miles. Battery: Lithium ion. Measures____ approx: 7"H x 23-1/2"W x 7-1/2"L.
                                                                   Weight: 23lbs. UL Listed. Color_____ choice. 90day LMW. Ages 12 . Incl:
                                                                   hover board carrying bag. Imported.
    PASS               1 Internal Packaging                        No issues were found with the internal packaging of the item. It is acceptable.
                                                                   Brown corrugate shipper, retail box, eps foam, white corrugate box, polybags.
                                                                   MZE 6.2.17
    FAIL               1 Polybag and Film Requirements             Audited against a "toy" item - The REJECTED 1st piece QA sample did not
                                                                   meet the poly bag and/or film specification for a toy item. Toy products using
                                                                   a poly bag and/or film do not require a suffocation warning label. However, if
                                                                   a poly bag and/or film is used with a toy item points 1 or 2 below must be
                                                                   met. 1. Actual wall thickness must be at least 1.5 mils (1.5/1000 inches) thick.
                                                                   2. Alternatively, sheeting with a thickness of less than 1.5 mils (1.5/1000 in)
                                                                   shall be perforated with defined holes so that a minimum of 1% of the area
                                                                   has been removed over any area of 1.18 X 1.18in.
    PASS               2 Country of Origin                         The Country of Origin was marked or labeled on the product and/or the
                                                                   packaging, is in the QVC Long Description, and is acceptable.
                                                                   China. MZE 6.2.17

                  EXHIBIT 20                                                224
file:///N|/300/300.TC/Digital%20Gadgets%20General/Interworks/QVC_QA_Eval_Report_T35011_011_000_6152017-1_OF_1.HTML[6/15/2017 4:18:20 PM]
QUEST - QVC QA Sample Evaluation Report
              Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 68 of 108 Page ID
    NA          3 Bouncebacks              No Comments
                                                  #:969Noted
    FAIL           3 Claims Substantiation                VENDOR: QA must receive documentation to substantiate specific claims made
                                                          regarding the product. Please send all claims documentation to
                                                          QVCQAHardgoods@qvc.com.
                                                          Charging time: 2-3hours. No overcharging. Max speed: 5MPH. Weight
                                                          Capacity: 220lbs. Range: 6-8 miles. MZE 6.2.17
    PASS           3 Liability Insurance Policy           The product category of this item requires a minimum of five million US
                                                          dollars ($5,000,000) liability insurance coverage. A Certificate of Insurance
                                                          ("COI") must be on file with QVC. The "COI" must evidence at least this
                                                          amount of general liability insurance coverage (per occurence and in the
                                                          aggregate) and name QVC, Inc as "Additional Insured". The vendor is required
                                                          to maintain general liability coverage for the life of the merchandise. The
                                                          coverage must include full product liability, advertising injury, naming QVC,
                                                          Inc as an Additional Insured, and issued by an insurance carrier rated "A" or
                                                          better by A.M. Best. The vendor must also notify QVC within thirty (30) days
                                                          of the cancellation of such policies and provide a new COI. RENEWALS of the
                                                          COI should be sent to the following address: QVC, Inc. Mail Code 206, 1200
                                                          Wilson Drive, West Chester, PA 19380-4262, or faxed to 484-701-1380. If you
                                                          have questions concerning the insurance requirements, please contact your
                                                          insurance broker, or contact QVCs Insurance Administrator, Patti Forti, at 484-
                                                          701-6715.
                                                          A copy of the Certificate of Insurance is on file, and apparently complies with
                                                          all QVC requirements. If there are any issues with the liability insurance, then
                                                          the vendor will be contacted by QVCs Insurance Administrator.
    FAIL           3 Limited Manufacturers Warranty       The sample includes a limited manufacturers warranty which was reviewed and
                                                          determined to be unacceptable. VENDOR: QA must receive a copy the
                                                          proposed LMW for review. Please submit documents electronically when
                                                          available.
                                                          Item includes a 90 day limited manufacturers warranty.
                                                          For warranties, we will need these following (5) FTC requirements addressed:
                                                          **(1) What does the warranty cover/not cover ** (2) What is the coverage
                                                          period ** (3) What will you do to correct the problems. This requires an
                                                          explanation of the remedy vendor offers under the warranty. This could be
                                                          repair or replacement of product, a refund of the purchase price, or a credit **
                                                          (4) How can customer get warranty service: This includes Name of Company,
                                                          address, toll free telephone number, and contact local or regional service
                                                          center **(5) How will the state law affect your customer' rights underthe
                                                          warranty. Also should include the following statement: This warranty gives you
                                                          specific legal rights and you may also have other rights which vary from state
                                                          to state.
    PASS           4 Battery Identification               includes lithium ion batteries / cells
    CONDITIONAL 4 Battery Packaging                       No Comments Noted
    FAIL           4 General Electrical Requirements Test The UL 1642 certificate for the lithium battery / cell is required and has not
                                                          been received. Please submit to "qvcqahardgoods@qvc.com" and copy your
                                                          buyer.
                                                          The UN certificate for the lithium battery / cell is required and has not been
                                                          received. Please submit to "qvcqahardgoods@qvc.com" and copy your buyer.
                                                          A "Lithium Battery Information Form" is required to be submitted. Please
                                                          submit the completed document to "qvcqahardgoods@qvc.com" and copy your
                                                          buyer.
                                                          Confirmed item's listing is correct and active. Thank you!
                                                          UL Model SMART-C file E483017, UL adapter Model SPS-T844202000-C8 file
                                                          E307126 verified online. MZE 6.2.17
                                                          Batteries included with the item were found acceptable when tested in the
                                                          unit.
    NA             4 General Regulatory Compliance        No Comments Noted
    FAIL           4 Regulatory Compliance/ASTM           Item is properly labeled with required age grading
                                                          The toy/batch testing report is currently not available. The product will remain
                                                          in "HOLD" status for eight (8) weeks. If a report is not received within that
                                                          time, the item will be disposition as "reject" until an acceptable report is
                                                          received.
    NA             5 Assembly                             No Comments Noted
    PASS           6 Workmanship, Materials and           The workmanship and materials are acceptable.
                   Components                             All required components were included with the sample.
    PASS           7 Function Test                        The users guide/use instructions sheet included with the sample is acceptable.
                                                          The sample was not actually function tested as it is a Virtual Sample or it
                                                          cannot be fully tested.
    NA             CPSIA Certification of Conformity      No Comments Noted
    PASS           Check Vendor-Level Comments            Vendor-level Comments in the IBM System were checked.
    NA             Induction Seal Test                    No Comments Noted

               EXHIBIT 20                                           225
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QUEST - QVC QA Sample Evaluation Report
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    NA             M1 SDS Requirements        No Comments
                                                     #:970Noted
    NA              M2 Hazardous Materials Transportation No Comments Noted
                    Markings
    NA              M2 Hazmat Category                    No Comments Noted
    NA              M3 VOC Regulated Items                No Comments Noted
    PASS            P1 Carton Packaging Graphics          No Comments Noted
                    Classification
    PASS            P1 Carton Sealing (Does Not Imply     This package is sealed with 2" packaging tape down the opening of the carton
                    OK/not-OK)                            seam.
                                                          Carton was sealed with clear 2" packaging tape.
    PASS            P1 Packaging Description              Product was submitted in plain kraft packaging (corrugate or chipboard).
                                                          Doublewall corrugate box was submitted.
                                                          The corrugated container possessed a Box Maker's Certificate that stated that
                                                          the box has a minimum Edge Crush Test (ECT) of 48 pounds.
    PASS            P2 Package Testing Reqd? Does not     The packaging evaluation was completed by John Conrad. Should you have
                    imply pkg is OK.                      any questions, please contact him at john.b.conrad@qvc.com or 484-701-8694
                                                          Please note this sample is from a package tier 1 vendor.
                                                          6/2/17 JBC: Lithium Battery. Not drop tested.
    NA              P2 QVC Bar Coding Requirements        Bar code labels and/or QVC specific carton markings on a 1st piece product
                                                          sample or TOP (Top of Production) are NOT reviewed, approved or commented
                                                          on by QA as part of the evaluation report. Vendors should order all QVC bar
                                                          code labels from an approved label supplier - Verified Label & Print (800)764-
                                                          6110 or FineLine Technologies (800) 500-8687. Please review QVC QA
                                                          Packaging & Labeling Guidelines All Commodities. Please contact your Supplier
                                                          Relationship Manager with questions.
    PASS            PITSTOP                               No Comments Noted
    NA              Q Compression Test                    No Comments Noted
    NA              Q Drop Test                           The QVC Drop Test is not required for this sample. No package testing is
                                                          required at PSFGA or DC inspection.
    PASS            Q Initial Packaging Evaluation        NOTES ON MASTER CARTONS: QVC does NOT require master cartons for all
                                                          hardgoods items. (For more details, see QVC QA Packaging & Labeling
                                                          Guidelines All Commodities.) A master carton MUST contain at least four (4)
                                                          saleable units. A master carton for hardgoods cannot exceed 40" L x 24" W x
                                                          24" H (102 cm x 61 cm x 61 cm) in outer dimensions, or 40 pounds (18 kg) in
                                                          weight. Any questions regarding master cartons can be emailed to
                                                          Packaging@qvc.com. Failure to comply with these requirements may result in
                                                          the rejection of PO receipts and/or a QVC Vendor Chargeback.
    NA              Q Multi-Box Samples                   No Comments Noted
    NA              Q Vibration Test                      No Comments Noted
    PASS            Sample Type                           Physical Sample was received.
    PASS            Z "System Test" that Enables Capture No Comments Noted
                    of Pkg Info
    PASS            ZZ Digital Images                     Digital images have been taken of the sample and downloaded into the digital
                                                          storage section of QUEST.
    PASS            ZZ Hots processing                    Sample processed as a HOT per request.
    FAIL            ZZ Next Actions Required              The sample is Rejected pending the receipt of satisfactory information and/or
                                                          documentation as requested.
                                                          Submit a New Physical Sample for review along with all requested information
                                                          to address all product failures.

   Packaging Attributes
   Vendor Packaging:                                                   Vendor Box Type:
   Corrugated Container                                                0201 - Regular Slotted Container (RSC)
   Carton Package Graphics Classification:
   0 - N/A
   Rigidity:                                                           Straps:
   Rigid                                                               No
   Conveyable:                                                         Sortable:
   Yes                                                                 Yes
   Divertable:                                                         Straps Permitted:
   No                                                                  No

   Pack Recipe
   Outer Mailer (OM):                                                  Packaged-Product Weight:
   VENDOR CARTON - VA - Automation-Ready VC                            28 lbs, 5.6 oz.

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QUEST - QVC QA Sample Evaluation Report
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   Presentation Case (PC):                         #:971
                                                      4 -to-Customer Product Weight:
                                                      Ship
   None - NONE                                                            28 lbs, 6.256 oz.
   Certificate (CT):                                                      Packaged-Product Dimensions (L x W x H):
   NA - NONE_________________                                             25.8 x 10.8 x 10.7 inches
   Special Instructions (SI):                                             Length + Girth:
   NA - None                                                              68.8 inches
   Stand-up Tag (ST):                                                     Dimensional Weight:
   NA - None                                                              17 lbs.
   Pouch (P):                                                             Ship-to-Customer Packaged-Product Dimensions:
   NA - None                                                              25.8 x 10.8 x 10.7 inches
   Hazmat/Oversize:
   N

   CoShip Information
   Boxes Per Item:                                                        Max Items Per Box:
   1                                                                      5
   Co-Ship Code:                                                          Ship With:
   2 - Ship With Other Items                                              X
   Co-Ship Family Group:                                                  Orientation:
   555 - Hardgoods                                                        X
   Co-Ship Commodity Group:                                               Fragility:
   555 - All Hardgoods                                                    0

   Gift Wrap
   Gift Wrap Eligible:                          Gift Box Required:                               Gift Box:
   E - INELIGIBLE - ITEM OVERSIZE               N                                                NGB - No Gift Box Required
   Gift Wrap Recipe:                            Gift Wrap Ship Weight:
   NA                                           0 (Lbs.) 0 (Ozs.)

   BarCode Information
   Bar Code Present:                                Bar Code Symbology:
   No                                               Pending
   Bar Code Content:                                Bar Code ANSI Readability Score:
   Not Applicable                                   Not Applicable
   Bar Code Human Readable Text:
   X

   Digital Documents and Images
   File Name                                     File Type                                                           File Comment
   T35011-Fisrt_Sample_6.2.17.pdf                Images of Product Itself                                            Images of Product
   T35011_Box1.jpg                               Images of Packaging                                                 Box1
   T35011_Box2.jpg                               Images of Packaging                                                 Box2
   T35011_Box3.jpg                               Images of Packaging                                                 Box3
   T35011_Box4.jpg                               Images of Packaging                                                 Box4
   T35011_Box5.jpg                               Images of Packaging                                                 Box5
   T35011_Box6.jpg                               Images of Packaging                                                 Box6
   T35011_HOLOGRAPHIC.jpg                        Miscellaneous Digital Documents and Images                          Holographic Logo
   T35011_UL_LABEL.jpg                           Miscellaneous Digital Documents and Images                          UL Label - Adapter




                 EXHIBIT 20                                           227
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                                   #:972




                  EXHIBIT 21
        Case 2:17-cv-04983-TJH-KS Document 50-2 Filed 12/14/18 Page 72 of 108 Page ID
                                           #:973

Jared Louzon

From:                 Chris Mitchell
Sent:                 Monday, June 19, 2017 4:34 PM
To:                   Eric
Subject:              RE: QA Eval for T35098
Attachments:          QVC_QA_Eval_Report_T35011_011_000_6152017-1_OF_1.html; 88170810102R2 CHIC.PDF; Lithium
                      Battery Form_High Roller Model C.XLSX

Importance:           High


Eric,

Got off the phone with QVC QA. Everything below refers to your Model S. I got the CPSIA testing handled based on your
attachment (thank you).

However, we still need all the documentation for the CLAIM SUBSTANTIATION that matches the Lithium Battery Docs
you provided us – reattached again here.

Also, what are you going to do about the below two items?

Do you have new samples of the Poly Bag and Warranty Card Details you’ll be submitting?? Need these overnighted to
us tonight in NJ:

        ATTN: Jill Pierson
        21 Englehard Drive
        Monroe Township, NJ 08831

FAIL 3 Limited           The sample includes a limited manufacturers warranty which was reviewed and determined to be
     Manufacturers       unacceptable. VENDOR: QA must receive a copy the proposed LMW for review. Please submit documents
     Warranty            electronically when available.
                         Item includes a 90 day limited manufacturers warranty.
                         For warranties, we will need these following (5) FTC requirements addressed: **(1) What does the
                         warranty cover/not cover ** (2) What is the coverage period ** (3) What will you do to correct the
                         problems. This requires an explanation of the remedy vendor offers under the warranty. This could be
                         repair or replacement of product, a refund of the purchase price, or a credit ** (4) How can customer get
                         warranty service: This includes Name of Company, address, toll free telephone number, and contact local
                         or regional service center **(5) How will the state law affect your customer' rights underthe warranty. Also
                         should include the following statement: This warranty gives you specific legal rights and you may also have
                         other rights which vary from state to state.


FAIL 1 Polybag and     Audited against a "toy" item - The REJECTED 1st piece QA sample did not meet the poly bag and/or film
     Film Requirements specification for a toy item. Toy products using a poly bag and/or film do not require a suffocation warning
                       label. However, if a poly bag and/or film is used with a toy item points 1 or 2 below must be met. 1. Actual
                       wall thickness must be at least 1.5 mils (1.5/1000 inches) thick. 2. Alternatively, sheeting with a thickness
                       of less than 1.5 mils (1.5/1000 in) shall be perforated with defined holes so that a minimum of 1% of the
                       area has been removed over any area of 1.18 X 1.18in.


Please advise at your earliest convenience.

Best,
Chris



                                                                  1
        EXHIBIT 21                                             228
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                                   #:974




                  EXHIBIT 22
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  ‫ܘ‬ѿ‫׎‬п‫׏‬ǉгђ‫ܚًܙ‬ҲΦǊ‫ ݒ‬ʊϺ҉‫ݒ‬.՜Ԟʦћӽ‫ܔ‬ѐǈ‫ݒ‬ԽΖ‫ݒ‬Κк‫ݒ‬,‫ݒؖ‬٣ ١ Յ Լ ‫ ࠤ ٮ‬AʆяӻB‫ܑڈ‬՚‫ݒ֟ ݒ‬                                           ϶‫ ݒ‬Д‫ݒڟݒ‬ϕҮҾ֢֣Ѷ‫ݒ׆‬                ໏ З‫ݒڔ‬ϖүҿ֤֥̱܎‫ݒ‬
                     ʽ‫ͨݒ‬γͩ΄‫ͪݒك‬ϐCͫѸжώ‫ڊܕ׉ݒ‬қМ‫ٺ̛و‬Ӿ‫ځݒ‬Ӷ ӷԜѵ‫ݒ‬ϧϔ‫ݒ‬
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EXHIBIT 23
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             ͟Տ‫ݒٴ ݒ‬ᄣᠺӳӴӵ⃷᪓ṟῬ₷⃷ٰ‫ ݒ‬ᆛᆜᮬቄ⃷ξ‫ݒ‬ʼ‫ݒ‬᭱ὢᳶ᥿ᄟᷔ⃷ᭊÙ⃷‫܁˩⃷˨˧ش‬ՁṢ⃷‫ݒؒڝ܃‬:0PឭᕺᎬ⃷̄ቅቆ⃷7ᕀᕁᄓ⃷ᡭᡮᒋ Ἓ⃷Ṙᥱṙ⃷‫)ݒآ‬4/7᪚᳴Ȟ⃷պ-‫ ݒٷٶݒ‬᪎ᗍᮣ⃷ᬶ⃷ṣὠቈ⃷ȕ⃷Ύ᛫ᶂῂ᪖᰿⃷֋ѩ‫ݒ‬Ң‫ؗ‬è‫ݒ‬ᵿᗆឫ⃷б‫ݒ‬
             ўџԱщ   Բ ‫ݒ‬ᄝ᥾⃷ )Ѝլ‫ݒ‬ᇷᡵ⃷ఴ⃷ᬵ⃷ᆪᆫ᧳⃷մҐ‫ݒ‬ᡗ ᠳ⃷᭬ၺ"#⃷᪏ᳳȗ⃷࿻᣾⃷ӟ‫ݒ֎ݒ‬L‫͠)( ݒ‬ґ‫ݒ‬༇ ᛴᛵᰴ⃷ᓒ᛹⃷ứ⃷ᤉᤊ⃷ᷕᙋ᭭ᮩᥴᔀ⃷₻ᄚṢᎷᄛß⃷₶⃷ዦᡍÛ⃷ᄥᦃớ᪙᱅⃷ႊ⃷шՄՃհ‫ݒ‬նַ‫ݒ‬ቒ₯ἒᦄ⃷ኞᄣỼᶈȝ⃷ἄᎾᦂ⃷शὣ․ᒜ⃷
             ˘˙⃷᛺᛻Ꮎአᙏᄤỽា․⃷ᡊᢷឮᥳᄕỺ⃷ Ṝᕻ᛿⃷֡‫؎؍چ‬Ҍ‫ݒ‬෢⃷ᓞ⃷₴Ꭺ⃷֘‫ݒ‬ᒣᒘ⃷ 7*77$7 ,!/7ṧ᪙⃷Ὺѯᙊቇ⃷ᓠ⃷᥯ႋႌ⃷а‫ݒ‬ᄖ᧭᧮Ü⃷ EP ᡇ⃷ᭆ⃷1PI$GP ᕸ⃷ᒎᒏᒐ᥮⃷ᡘᎭ⃷)&)              )࢔ỤᎴᴬ⃷⃴₵⃷ἃ᛾⃷᭮ᾨᖁ₸⃷ ֌Ѫָ‫ݒ‬
                 +717κλΐ‫"ݒ‬027ᘡᥕ⃷ၔყ⃷ սֻѝּ‫ݒ‬ᶁᾛᜓᒇ ᡷ⃷ᄕ⃷ཝ⃷ኚᜈὟ᥺Ṡ⃷ շՐ‫ ضݒ‬Ꮏ⃷(47)+ᠿ7᪌ᒳ⃷ዬᜑᎲ᳹⃷ᕂᕃÚ⃷῝ᕿᛪᖀ⃷ Ҥ‫ݒ‬ན₳⃷ᆧἎ⃷&C2P π‫ݒ‬ӭҷ‫ )&" ݒ‬#')&) !⃷ሽ᧴឴⃷ #% ᭱ᾯᄠ⃷˚⃷˛ռֺъѭֹ‫ ݒ‬᪒᰸⃷ᆣ⃷ᮠᥬ⃷ṗᗉᰴᎫ᪍ᒴ⃷ջ-‫ݒ܂‬
             ቌ₲⃷Ṏ᪉⃷ṏᗇ⃷ኜᳬᙍ᧿ᶄȚ⃷ќ‫ݒ‬༊᛭ᛶᛷà⃷̈ᓗᄟṤ᛽ᶇȜ⃷ᤇỻ᥼ᆠᶃș⃷*#73'7Ўխ‫( ݒ‬757ᄔᥲኘ⃷ՅՆ‫ ݒ‬᪚Ṩ἟ᠴᠵᮭ ᡰῗᗎὤṩ⃷у‫ݒثڅ‬/2ˀʵ‫ٸ ݒ‬Ղ‫ݒ‬᭫ᴈ⃷‫ݒپ‬ᆝᤋṚ⃷֗‫ݒ‬чԼ‫܄‬Ѯձ‫ݒ‬վғз‫ݒ‬%᪊ᒲ⃷ᄔᨌ⃷




EXHIBIT 23
             ᶆᎺ᱂ῃᙎਅਆ⃷᭰ὠ᱀ᶅὡᄝᨊ⃷ᖂᒛᎶṡ᪗Ș⃷མᡋᬺ⃷ም᪒ᡫᡬ᰹⃷ЏӮ‫ ݒ‬ၬ᰽᣿ᡯ᥹⃷ᓡᢸ឵ᡱᒍ⃷ᇸ⃷वὠ‣Ꮉ᱁⃷Ṗ᪋⃷ᇮ⃷ቓ᥷የ᥸἗឴⃷ᄗᥴ࢓⃷Tᕽᄘឰ⃷ᨅṞ⃷MPᄑᨋ⃷ᵿᾜᕹ⃷ឲ᥶ᓜᓝᭀ ᡶ⃷ 9P֏Ь‫ݒ‬ÓՑç‫ݒ֙ݒ‬#)ᷚᕷ⃷ᙌ᧾ᨄἘ᥵⃷఻ᒓ⃷Э‫(ݒ‬57(3./7 չ‫ٳ‬Ҏ‫ݒ‬
             "%  %ἌἍ⃷ᮯ᳭⃷ᆚȖ⃷Ὕᴊ⃷༇ᒒᥰᴞ⃷Ṣ ᬪᬫ₆⃷‫?ݒڞ‬/N;P1PΒ‫ݒ‬:/P6-7٫‫ ݒ‬Ѡ‫حݒ‬Ʊ‫ ݒ‬6 !7,'07ኖᆟᜐᎫᰵᎫኖ⃷ᗊᴀ᥻ኛᒚ⃷Ӷӷຄ⃷֓ӯ‫" ݒ‬037 ) #&7 8Ȕ⃷ॕ⃷˜˝⃷D '&Pᕼ ῜Ꭾ⃷ṝᕻᎭ⃷ᴋ⃷‫ݒٿ‬
             ᡳᔃ᭄ᭅᶉ ᄣᦁኟ⃷Ἒ⃷᱄Ꮍ᜘ ᔂᭃ ᡙᆞ⃷ऴᠼ⃷Ἑ⃷VᾰᎿ᱈pᄦ᜔ὥይᤌ ₼ ᪛᱉ᨇቔ᱋᪜᱊ᢺីᨀ⃷୍᪝ደ ₽⃷ 8P ! L  P %PJ P<OP*+P@                                    #1Pᤍᤎ⃷ ᇈᎺ⃷᱃Ꮊἢᤈᡣ⃷ṥ᪘ ་ᎼᡨᄡṦᜌᶇᒥᮨ ᄢᦀኝ⃷ %
             ᡪ⃷‫ ݒٽ‬ᡲᄒ⃷%2+7᰺‫ݝ‬ᕾႈ⃷5-7/KPቋᎸ⃷༆ᒔᒕ⃷&)P$#%ᬷ⃷὞ᨈ቏ᛳÝ⃷ᒤᄙᤒᴌÞ⃷᳽᳾‫ݞ‬             ᳿ ӯ᧷⃷᰻ᒡᗌ₹⃷1;34(=/"5P,P Ե ‫ظ‬ҩѬ‫ݒ‬$!)%)ᳫᛮ⃷๧๨⃷vwѨ‫ ݒ‬P:AP% -7
             ᨆṧ⃷ᄜ᭯ᮢᎸ᥽Ṣ⃷ H>;6P 7 F-.PBP ؏Щ‫؜‬Ѱ‫ط)! ݒٵ ݒ܅‬յ‫ ) ݒ‬᰾Ꮅ᮫Ꮅᭂ⃷ᄗᶀ⃷ῦឱ (⃷พ΅ṛ⃷ο‫ݒ‬ᬻᄞᤀᔁᎻUț⃷ᜋ⃷ܱܲ⃷P ᪙᱆⃷ᨆ᧲᪙ᦄᒵ᪙᱇ᢹᜎ⃷ %127 )+7 &$ 7 ӹӺᒌ⃷ష⃷἖⃷᭮ᾢᾣᎳ⃷֚À‫ج ݒ‬АӰ‫ ݒ‬᰷ᎯឯᙊᎰ῁Ꮁ⃷௕ᥭ⃷
             ᒢ⃷ၖ᳥⃷% $ᢶ⃷ṕᗈ⃷᪑ᇶἓ⃷ᬷ⃷27              
                                                         ! % 7 ਏᾚၻ⃷ᴙ₺᰼᪔ឳ⃷




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      ₱⃷




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      ʶʷ‫ݒ‬
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                                                                     3ࠤ   ʍ˩‫̡ܻ̍ڬ‬ɾ‫ ځ‬Ԇɗг˼ʎ‫ځ‬
                                                                                                                          ӳԡǘȕӵ֓Ӵ‫׍‬īܻԇ ǁ ҧ⃷‫ׄٮ‬ü‫ٿٯ‬Ӕ Ș ‫ځ؍‬
        ‫׭‬ຉআಧɩূഘຊɪև ɫ໏   ե   ࠤ   ɨϿѻΝԛ໏ߨাफ़ଜ໏ࠚకःঅ໏
        ॽᘃḋ–̏໛ừḌፏ߁⃷               Ɇ҇‫ځט‬Ձв‫ܕځ‬ఆාകලรǌ໏ ‫׬ة‬໏ Ս̡ӂ̢Ξ໏                                                        %      %       %
        ላᨵ᥂ḇაሌḈ޾⃷
                                 ͌βԑ‫ۑځ‬िਸ໏
        ཱུፂᝠࡿ⃷                   #%
                                                                                                  ९່‫ૺ້ט‬ਕ೬๘߂໊໋ਖֺ໏ ‫ݡ‬ણ౬ഖ൦ઢय़ଝ໏൧ಣऄிഗ໏   ͘ࠤ


        ΪЋ Ժ ‫ݒ ˟ ۽‬               ෶ᕔᬰ᤾ᗼῳ⃷ ၉ბᛩᕕᨶᡥፊƣࢽ⃷                                               ྲ᯦ྀ჎ᗾᝢፄᯧ⃷
                                                                                                  !$ " %


       ࢻታቴᯨፅᵞᵟ޽⃷                ݂֧ٜ͒⃷໙ᨴᯩፇ᥀ᵠፇ᥁⃷ ࢼᾸፇǃ⃷                                              ཚკᝪ⃷
                                                                                                  չ‫ر‬ԤÀÁSّϥԽȤܻ
       ॠದ൬ฤ̂ࡋ൪अ൫ুֆ໏             ໓ᆢḅ჋⃷૫ፀ⃷໖ᮮᗽ᤿ᓬᵝÀ⃷ ॺࢼ⃷͔݃ٝ‫⃷͒ۀ‬                                   ͙ࠤ   ໕ৼॸ޻⃷ ǂ⃷
                                ஬ᵡ჏ᆸፈᝣ⃷
                                ҾЀՎҜ̣ÇÇԜ໏

                                                ౰ᨹᵤ⃷          ந᤽ሉ⃷                                                 %%            %
                                ᝟ ֥ г Ѓ ⃷ࢿᝥᨹ᥃ዯ थᝦᾺቶǅÂ⃷ ໙ἯᗿḆፆ⃷ д͓͒⃷
                                ॻፍᯬᯭᘁḊᨸᵢÁ⃷ ॼࢾǄ⃷ ݁͐‫⃷֦͑ڿ‬

       ໗෷ઃॹனࢺ౯⃷பഌཔ๱࿽⃷ ཷ஫ඈ഍໘޼⃷ ໔჌ᢒፁ⃷ቲჍ‎⃷ᵜᒟᗻሊፃ⃷
       ਙፋᝤᘀᾹፌᯫ‐߀⃷ ᆺ‑⃷໚᭕ᢔ⃷ḉᨷትგ‐⃷




                                                         șԗ
                                                         ޺⃷ ၲ⃷ ۵‫ ‏‬MNӽᮧ⃷ ¿⃷
                                                         ‫׉‬໏ ‫ا‬໏ [ᨳᯤᝡῖᯥ⃷    ᗺ⃷   ‫ب‬໏ Ы֒ʌ‫ڄۿ‬Ԧ‫֐۾ ݒ‬ƄֳՎ‫ݒ‬
                                                                               ၱ⃷ დ‒⃷ਚᯮᠾፎᯯ̎෸ᘂᛲᵣ⃷




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       ࢵቫቬᯝጵ࢚޴⃷         ϽѸΘԙ໏ߧ঺ड़ଚ໏࠙ఒँঀ໏
       5 46 ./ 
                       Ô ɔ Հ‫ځ‬б‫ځ‬ଉঃ෎ഓൣಠยǊ໏ ‫תئ‬໏ Ջ̜Ӏ̝Ι໏                                              ᗳ⃷
                                                                                                                                                               ,<ॴඅਗઁ⃷/)                        <
        &$0/7
                       ࡉࣿ஘໏ ‫ऀې‬஺਷໏
      ཱጭ᝘‫⃷ޱ‬            ‫تة‬᝞‫ܮܭ֤ڵ‬вጼ῭᝝Ђ⃷
                                        ໒ᡒᗸ෵ ུඇ⃷                  d⃷
                                                                                             Īܻ
                                                                               ࡾ⃷ e º ⃷ ₅ǀf ƿ⃷
                                                                                                       ‫ ڙژڗ ږ‬ŵ   ̈́ ͊ ͋ ͅ ͆   ͇͈ ͌ ͉ ࠤā O« ࠤ ࠤĂ͓ࠤ ͑ࠤߤ   Ŷ ­ È Ç¬ ŷ   Ժ   ‫ࠤ ͒ࠤ͗ ͖ ͕ ͔ࠤڛښ‬

                                                                                                        +()7 #7                                          !',1"7 *%-7
      ഊჅᢐጯ޳⃷            ถᕰᬲᥢᘻῷ⃷ ၈ ჊ ᯣጾᕓᨱἮᵚጽĨॶࢸ⃷                                                       ཱིᯟჇᗵᡉᯠ⃷
                                                                                                      ᤻Ἥᢑᆶጶᯠ޶⃷


      ࢶቭቮᯞጵᵖᵗ޵⃷         ՝їӐ໏ ངᬇ᳋ᑟ᧙᷇ᑠ᧚⃷࣡ῊᏴɓ⃷                                                          ₥ Ⴣ @⃷‫ځ‬
                                                                                                                                    ͍ ͐O͎ ࠤդ      ࠤ ͏ ࠤ

      ুᙬẁ‭̥༞Ẃᅃẃ႗Ᏽࠫ⃷    ངᆂᣵᆃ⃷ ૪ጫ⃷ ༎᭵᱑ᙔᦉᔇᶎì⃷ ॲࢲ⃷͎݀ٛ‫⃷͏ھ‬                                                  ໑৿ޯ⃷
      ী᪶ᦞẄᅄሧẅࠬ⃷        ஥ᵓ჆ᆵጰ᝚⃷
      ཰ጬ᝗ް⃷            ҟӁϾՌѹѺ̠ÆԚÆ໏ ጪ ⃷   Z
                                                                                        Æࠤ
                       ྥୠௗຈੀ⃷ยࣕຈྦၼ⃷଀ᓘូీଲୠు⃷ৈ୨࣪୩৉᜗ᠱ⃷⃧ ఀ ៗ៘ʂ⃷཯඄ƾ⃷           ‫ࠤڕ‬



      ഋ჈ᢑጷ޷⃷           ඃ઀ॳ⃷ ࡸ੽૦ŀŀ૧Į੐໏ ౳ᩂᵧ⃷ࢴ᤹ᓫጳ᝛ጴᵕ⃷ ஧᤺ለ⃷
      ࢷቯተᯡጸᵘᵙ޸⃷        Κ ё Λ ̞໏‫׫‬଴ఓ஻ঁಟं໏؎ଵ෶ংɦǉ໏ࡊϴટൢ঻໏Μ̟໏
       26317   ॷጿ᤼ĩᗹḄᨲᵛ½⃷ ॷࢹ¾⃷ ͍ܿ‫⃷֢͍ڽ‬

                ʯ˺̷͊ͩͷϒծ҆̌˻͋Ǯ‫ځ‬yԐЉ‫ځ‬ϰΰ‫ځ׶‬ᵔጱᴤᗴሇጲ⃷
      ਘጹ᝜ᗶᾷጺᯢ‌޹⃷ ᆷ‍⃷֣ෳ᧯⃷ḃᨰቱ჉‍⃷




                                            ၇ં஦ତ୓ི ⁅⃷




                                                                       ၰ⃷ तၹ⃷ආ᳦ᒙ̍෴ᗷጻ਄C⃷




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                                                                   Ⱥʭ‫̋ځ˙ع‬ɽ‫˫ ځ‬ɖ ʮ˹ ʍ ‫ځ‬
      ഇႶᤆާ⃷                   ‫ܒ‬ஸ൞ষಛฆఐಜନ໏ͶsӤ҅ԏ҄֫ЈN½‫ܑځ‬ஷख़໏
      &() 5               ϺѶ Η ԗ ໏ߦশग़ଙ໏ ̶ԿίN‫ځ‬    ‫ࠤړ‬


      #,3-. 5            ९ᗦ᷺ ⃷ ఏਣ໏ ௪ᦕኬ ὪᶜṼᴮ÷⃷ ख़ࢡ⃷ْܵ̽̽Т⃷                                                                  , < '   <0 *                                                               <
      ሄᨪᤳ᷽Ⴞቖީ⃷
                              ࡈࣼ஗໏ ‫ۏ‬ाਵ໏
      ྄፣᝶ߓ⃷                   Ҟ»ϻȞ»Պϼ฼Ԙѷ̛̚໏ ၯ⃷Ε Ζ ̙໏
      Ɣ‫ݒ‬   ‫ݒ‬   T ÜƕÙ ÚÛÝƖ ‫ݒ̠ ڦ ڥ‬  Ɗ‫ݒ‬     ¶⃷  ໏୒ண෱཭ං⃷
                               ෲᕑᨫጥᤵᗯƺῲ⃷ ࣗࣽಝসੜ఑෌ഒহ ฻ɤ໏५̺⃷                       ᯖbႿᗬᝓጡᗭ⃷
                                                                                ᤴἬᢍᆴ๓ᯙު⃷

     ࢱቩቪᯚₑᵏᵐެ⃷                ܼ֟З⃷໐ᨭᯛጧᤷᵑጨᤸ⃷ࢳᾶጫ⃷                                 (

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     ৒ᚌẕ‱̧༱ẖᅚẔᒃࡍ⃷             ໌Ⴗ᤮᷻Ⴘ⃷૨ጜ⃷ໍ᭔ᯓᗩ᤯ᓧᵋƷ⃷ॵࢴ⃷ ܾ͊ٚ‫⃷͋ڼ‬
     ॰ᨬᤶḀჂሆḁޭ⃷                ஢ᵎႽᆳጠᝒ⃷
     ཮ጦ᝔ޮ ƻ⃷

     ഈჁᢍጤޫ⃷                                      ࢯ᤭ᓦ⃷       ஠᤬ሂ⃷                                                           - <  (   </ +                                                                  <
     '*+5      Ю֞Ѐ
                       ⃷ ⃷ƹ‫ڲ‬ᨩᤲቨᯕႽ⃷ ढᝑ᾵ቦƸµ⃷໎Ἣ ᗫ᷼ጠ⃷ Ы Ё ⃷
                                                                                                 Ŵ ‫ ۀ‬ț ‫ ࠤ ہ‬κ ι λ ‫ ࠤ̻ ށ‬Ԛ þ Ō           ŋ
                                                                                                                                    ߢŎō ࠤ‫ ́ࠤݸݷ̶ ࠤ ݺ ݹ‬Ā ̼ߣ ̽ࠤ̾ ̿ ̀ ࠤա ÿ բ գ ࠤ        ƎƏƋ‫ݒ‬
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     !/401 "5 ॱጩᯜᯛᗰḂᨮᵒƼ⃷ ८ƶᡄ´⃷ ͈ܽ‫⃷͉֠ڻ‬                                     ૩ᯗጢᗮᓩᕐ᷾⃷ਈჀᯘᓪጣ⃷ཬጛᴍᵊި⃷·ₐ᷿ህᕒ₄¸⃷ɕÞ‫ ݒ‬Ɨ ۸ ɂƘƙ‫۔ۓ‬UÂԹ‫ݒٮֲ̰ە‬
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                        " " ! "                          ฀ᰊ፧᭜სᘖኄ⃷٘                         ࠤ                             %$ 25                       ٗ                       ࠤ


     Ⴔ᷷⃷ Ь⃷ ᷹Ⴕᢋ⃷
                                                                                               ΣЊ‫ز؟‬ѥֱ‫ݒ‬                   ȻӥӦЯ‫غ‬аӧ‫ػ‬ϽԢӂ‫ځ‬
                                                                                               डᗧᝍᝎᵉ⃷ᨧᒪ⃷౮Ⴜቧᗪᤱᓨ⃷




                                                                                                        ϑؑ‫ٱ‬Δѡ۷΋‫ش‬٬؋Γ ΉΊΈ΍‫ݒ‬ɦɧ‫ݒ‬ʜ ɓ ‫  ݒ‬$
                                                                                                                                                                                      !"#$
                                                                                                        $ ĩÖ×‫ݒ‬ɗ Ƒ‫ڂ‬ƒʝƓ‫ݒ‬
                                                                                                                    ‫س֔ ݒ‬no۵‫ڒ‬Ø۶‫ݒ‬ɖ‫ݒ‬ɣɤɥNOʹ ְ‫ݒ‬
                                                                                                       ΢‫ڑٹ‬Ô‫̹ݒ‬۳ӧӨ‫ݒ؛ݒ̶ر‬Ω‫ݒ‬ÈÉάƐ‫ݒ‬
                                                                                                        ΎΏ΅Άß ۹ ‫ ݐ ۺ‬áɃ‫ۼ֍٭ ټۻ‬ƚ ɒӫՍ ɬɭ‫ڃ‬
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EXHIBIT 24                                                  ( .    241
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        Δ́ѐ̀Ϲ̘ΓԀ໏

      ᗚ⃷ ളᄐᢵᎧࠁ⃷        ‫ܐ‬வ൜঴ಙฅఎಚଧ໏ ࢱஶଳજ஖છ൝঵ॾǈ໏ચழॗɢ໏
      a⃷ ࢫበቡᯏጒᵀᵁ‫⃷ޥ‬     ϸѴΑԖ໏ߥ঳क़ଘ ࠘఍ࣻॽ໏
       २ᗠᷲ ⃷̌໇ᷰႰᷱ጑‫⃷ޣ‬    Ʉҁ‫א‬Ĕ‫ؗ‬ēԼӋ‫ځ‬ʬԞϬ‫ה֑ל‬¹‫שإ ځ‬໏ Չ̖ҿ̗Β໏                                                                      - <  (  ! </ +       !<
       १ᨣᤧᷳᛰቕ‫⃷ޤ‬        ࡇࣺக໏‫ࣸۍ‬ள਴໏
       478 <           1 5&;6:9<
                            ‫ڒ‬Åࠤ Ã ö a÷ ø ˝ ˞ ‫ݒ‬
                           Äࠤ
                                               Խࠤ ໅୐ஞ෮⃷ཀྵ඀⃷ Ư⃷                                      ०Ⴏᯍᯎᗞጐᯌ⃷ഺᄴᣂᏙࠔ⃷        ᝌƴᗣ᭑ᵆ᷶ᗢụ᜜⃷ᝆᯇႪᤣᴾư⃷
       അႨᢈጉ‫⃷ޠ‬           ෰ ᤥ₏ᤦᗟ῱Ʋ⃷ῙᆙጘᕍᨦἪᵇጙħ४ࢮ⃷                                                      ཫᯊႮᗝᝉጏᯋ⃷
                                                                                                   ᥂ἰᢓᆹፉᯪ޿⃷


       ࢭቢባᯑ጖ᵃᵄࡽ⃷       ܻ͇֝ٙ⃷່ᨤᯐጓᤨᵂጔᤩ⃷ࢬᾴጕƳ⃷

       বᙈṐ‡̡༄ṑᄐṒᎨࠂ⃷    ້ႱᢊႲ⃷૧጗⃷໊᭐ᯒᗡᤪᓥᵅ±⃷ॢ ࢩ ⃷ܹ̈́٘‫⃷ͅڹ‬
       ३ᨥᤫᷴႳሁ᷵ަ⃷       ஡ᵍႻᇣᝏ⃷
       ᯄገᯅ‫⃷ޟ‬

       ആႩᢉጊ‫⃷ޡ‬          ඁ੽ॣ⃷༾ᖱᚰᮓᮔᚱᧅᔬ⃷౪᨟ᴻ⃷                        ஝ᤢᇿ⃷                                                     -<'"<2 +              #<
       ࢪቝ቞ᯆጊᴼᴽ‫⃷ޢ‬       Я ֡ а ͊͌⃷ࢰᝐቍᤰብᯔႻ⃷ ‫؍‬ਢ෵ॳɣǇ໏ ໄἩᗛỶ⃷ б͊͌⃷
       ভᙉṎ•̢༅ṓᄐṔᎩ̣ឪᙈ⃷ ६ጚᴝᗤ᷸ᨨᵈ²⃷ ७ࢯ³⃷ܺ͆‫⃷֜̈́ں‬                                                         ‫ێ‬ಘলଂਜ਼൛໏।ᕋႫᯈᓣጋ⃷                                                     Ʊ⃷
                                                                                                   ᨢἂ`ᓔၫ᷒¥⃷
                                                                                                       ෯ᷮግᮟᕌᒩ⃷                  ॥ᨡᝇᝈጎሀᷯ ٖ     ࠤ            Ӧ‫ ݒ‬෭Ⴇᴢ⃷ᡂᡃ⃷

      ٫রଲਡ෴঱ആօ໏ ॄฟ໏ѵ౫ஔ໏൚ఌॼࣹภ໏                                                                          ̕໏        ಺Ⴍᴿᷭጌᯉ⃷ໆᗞᝊᝋ⃷᪉ᒱ⃷lĖήϭ҂ԟфȐ‫҃׭؂‬Ӄӄĕά֪֩έϣІϮ‫ם‬ԠϯЇլӣ‫ת‬ԡх‫ځ‬
                                                                                                                 ٗШЩЪ₎⃷ᨠᒨ⃷౫Ⴌ቟ᗜᤤᓤ⃷




                                                   ၆੾டଣ୑ཪ⃷             9




                                                                              ӱܻʒܻ  KςΡ֯Әʻ‫ذ‬Ϥ Ι‫خ‬Ԩ‫د‬ղ۲ϣӞ‫ݒ‬

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           ഄႡᢆዻƫ‫⃷ޙ‬
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           ࢧቛቜᯁጂᴹᴹ‫⃷ޜ‬                ܷ֛ٕ͂⃷ ໂ᨝ᯀዿᤠᴸጀᤡ⃷ ࢦᾲጁƮ⃷
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       ཥዸᝀ‫⃷ޖ‬                       ‫ٖب‬ԅܸ‫̓שש‬۴۴۴⃷ ዷ ⃷  ΢ ໏
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             ‫ ݒ‬Q RS‫ے‬Ɖ   ‫ ݒ‬Á ࠤ   སᷦᡠᡡ⃷ங_ࢣ୎ᝁၸ⃷૦๯੼சଡ୏ཨ⃷फ़஛ஜࢥ๰ଢᷨແ⃷ԧӤӥΛ‫ ݒ‬ʛʔ˜‫ݒ‬
       ഃ႟ᢅዺ‫⃷ޘ‬                      ൿ੻ज़⃷õਗ਼ગ౧౨ଈĖ໏౩ٓᴶ⃷ Íறਲ਼ভƺমഏ໏ ႀᤛᇼ⃷                                                     . <  '  % </ +   %<
      ' )*>      ν ў ξ ͎@໏ ࢤᝃᨚᤞ቙ᮿႣ⃷ टᝄᾱቚƭ®⃷ ࡆ්કභ໏ Ч Ͽ ⃷
      $/501!> ड़ᒝᒞᗗᷧᨛᴷ¯⃷ ढ़ࢤ°⃷ܶ̀‫⃷֚́ڸ‬                                                     6:;                       78   <9=>ţ๹Ť ໏
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    §
  INTERWORKS UNLIMITED, INC.                        §
                                                    §      CIVIL ACTION
                Plaintiff,                          §

         v.
                                                    §      MISC.NO.    /f-tnf-//p3
                                                    §
                                                    §
  DIGITAL GADGETS, LLC,                             §
                                                    §
                Defendant.                          §
                                                    §
  �������-                                          §


                                           ORDER
                               ri+
        AND NOW, this        11_ day of    A'-') ..J'S t     , 2018, upon consideration of the


  Motion of QVC, Inc. for Approval of Stipulated Protective Order, it is hereby ORDERED that


 the Motion is GRANTED.        The Stipulated Protective Order set forth as Exhibit "D" to the


 Motion is hereby APPROVED.




                                                           BY THE COURT:


                                                                              •


                                                                               U.S.D.J.
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       Digital Gadgets, LLC

       APPROVED AND SO ORDE�D
               �
       THIS l�T DAY OF A11ev:T" 2018
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                                  U.S.D.J.




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